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hereofwith respect to events occurring prior thereto; and (iv) continue after any termination
of position or employment, whether or not for cause, as to all claims made with respect to
the period during which the claimant was a manager, officer, agent or employee.

Section 8: . Further lmplementation. If this Article xI or any portion thereof shall
be invalidated on any ground by any court of competent jurisdiction, then the company
shall nevertheless indemnify each manager, officer, employee and agent of the company
as to all expenses (including attorneys’ fees), judgments, fines, penalties, liabilities, claims
and amounts paid in settlement with respectto any action, suit or proceeding, whether civil,
criminal, legislative, investigative or administrative, including without limitation, any grand
jury proceeding and any action, suit or proceeding by or in the right of the company, to the
fullest extent permitted, allowed, authorized or not prohibited by any applicable portion of
this Article that shall not have been invalidated by the laws of the State of Florida or by any
other applicable law or contract.

ARTICLE Xil.

COMPANY SEAL
The managers shall provide a company seal which shall be circular in form and shall

have inscribed thereon the name of the company and the year of organization.

- ARTICLE XIU.

 

EXECUTION OF INSTRUMENTS AND DEPOSIT OF FUNDS
Section1: Authority for Execution of Contracts and Instruments. The

managers, except as otherwise provided in these regulations, may authorize any officer

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or officers, agent or agents, to enter into any contract or execute and delivery any
instrument in the name of and on behalf of the company, and such authority may be
general or confirmed to specific instances; and, unless so authorized, no officer, agent or
employee shall have any power or authority to bind the company by any contract or
engagement or to pledge its credit or to render it liable pecuniarily for any purpose or in any

amount.

Section 2: Instruments Containing Company Seal. Unless otherwise
specifically determined by the managers or otherwise required by law, formal contracts of
the company, promissory notes, deeds of trust, mortgages, security agreements and other
evidences of indebtedness of the company, and other company instruments or documents
requiting the company seal, and certificates of shares of stock owned by the company,
shall be executed, signed or endorsed by the president and by the secretary.

Section 3: Bank Accounts and Deposits. All funds of the company shall be
deposited from time to time to the credit of the company with such banks, bankers, trust
companies or other depositories as the managers may select oras maybe selected by any
officer or officers of the company to whom such power may be delegated from time to time
by the managers. |

Section 4: Endorsements Without Countersignature. Endorsements for
deposit to the credit of the company in any of its duly authorized depositories may be made
without countersignature by the president or by any other officer of the company to whom
the managers, by resolution, shall have delegated such power, or by hand-stamped

impression in the name of the company.

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Section 5: Signing of Checks, Drafts, Etc. All checks, drafts or other orders for
payment of money, notes or other evidences of indebtedness, issued in the name of or
payable to the company, shall be signed or endorsed by such person or persons and in
such manner as shall be determined from time to.time by resolution of the managers.

. ARTICLE XIV.
AMENDMENT

The power to adopt, alter, amend and repeal the regulations of the company is
reserved to the members of the company: Any action to alter, amend or repeal the
regulations of the company shall require the affirmative vote of all of the issued and
outstanding units of the company entitled to vote, such vote to be taken at a duly called

“and competently convened special meeting of the members, or by unanimous written
consent in lieu of a meeting.

ARTICLE XV.

DISSOLUTION

Section 1: Events Requiring Termination and Dissolution. Each member
expressly waives any right which it might otherwise have to dissolve the company except
as set forth in this Article XV. The company shall be dissolved upon the first to occur of

_ the following:
(a) The vote of all of the issued and outstanding units of the company,
such vote to be taken ata duly called and competently convened

special meeting of the members or by unanimous written consent of

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the members in lieu of a meeting approving of the dissolution of the
company;

(b) The occurrence of any other circumstance which, by law, would
require that the company be dissolved.

Section 2: . Deemed Distribution and Recontribution. Notwithstanding any
other provision of this Article, in the event that the company is liquidated within the
meaning of Treasury Regulation Section 1.704-1(b)(2)(ii)(g) but no event described in
‘Section 1 of this Article XV has occurred, the company's properties shall not be liquidated,
the company's liabilities shall not be paid or discharged, and the company’s affairs shail
not be wound up. Instead, solely for federal income tax purposes, the company shall be
deemed to have distributed the company’s assets in kind to the members, who shall be
deemed to have assumed and taken such assets subject to all company liabilities, all in
accordance with their respective Capital Accounts.

Section3: Distributions Upon Dissolution of the Company. Atthe dissolution
of the company, and after the company has satisfied or provided for the satisfaction of all
the company's debts and other obligations, the company's assets willbe distributed in cash -
to the members as follows: .

(a) To pay or provide for the payment of all company liabilities to creditors
other than members, and liquidating expenses and obligations;
(b) To pay debts owing to members other than for capital and profits;

(c) To pay debts owing to members in respect to capital; and

(d) To pay debts owing to members in respect to profits.

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CS.
GUNSTER, YOAKLEY, VALDES-Fautt & STEwart, PA.
ATTORNEYS AT LAW

warten’s Direct Dat Nuaen: 3 76-6040
Warren's E-Mait Aporess: MSCheer@gunster.com

October 28, 1999
Robert W. Stewart, Esq.
999 Brickell Avenue
Suite 1006
. Miami, Florida 33131
Re: £E.S. Bankest L.C. Operating Agreement
Dear Bob:

Accompanying please find the revised Regulations and Operating Agreement for E.S.
Bankest L.C. containing the changes per your message yesterday.

‘ Please call me if there are any questions.

 
  

Mark ¥ Scheer
enclosures
MJS/ms
cc. | Eduardo Orlansky (w/encl)
Hector Orlansky (w/encl)
Dominick Parlapaino (w/encl) ~~

252367.%

One Biscayne Tower

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a

EXHIBIT JIL.

ACCOUNTS RECEIVABLE PURCHASE AND
TRI-PARTY AGREEMENT

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RECEIVABLE PURCHASE AGREEMENT
AND
TRI-PARTY AGREEMENT

THIS AGREEMENT is made as of this__ day of March, 1998 by and among E.S. Bankest
Corp., a Florida corporation (“ESB”), Bankest Capital Corp., a Florida corporation (“BCC”) and
Bankest Receivables Finance and Factoring Corporation (“BRFFC”).

RECITALS
WHEREAS, on or about June 27, 1994 BCC and BRFFC executed and delivered, among
other things, the following documents and agreements (the “BCC Sale Documents”) pursuant to

which BCC sold and assigned to BRFFC various accounts receivable and factoring agreements
owned or held by BCC in connection with its commercial factoring business:

Receivables Purchase Agreement dated as of June 27, 1994 (the “1994 Receivables
Agreement”) pursuant to which BCC sold and assigned to BRFFC certain accounts
receivables (as defined in the 1994 Receivables Agreement), together with BCC’s rights
under certain factoring agreements (as defined in the 1994 Receivables Agreement),

Financing Statement dated as of June 27, 1997 securing BCC obligations to BRFFC under
the 1994 Receivables Agreement and recorded with the Florida Secretary of State on o
1994 under File No. ;

Management Advisory and Administrative Agreement dated as of June 27, 1994 (the “BCC
Management Agreement”) pursuant to which BCC has provided certain management and
advisory servicesto BRFFC in connection with BRFFC’s factoring business, and

- ° WHEREAS, BRFFC is also a party to that certain Trust Deed dated as of June 27, 1994 (the
“Trust Deed”) by and between BRFFC and Bank Espirito Santo International, Ltd., a Cayman Island
banking corporation (the “Trustee”), pursuant to which BRFFC has issued its debentures to third
parties for which it remains obligated (the “Debentureholders”); and ,

WHEREAS, BCC and BRFFC are also parties to that certain Master Receivables Purchase
Agreement dated as of August __, 1994 (the “BCC Master Receivables Agreement”) pursuant to
which BCC has agreed to continue to sell and assign to BRFFC certain additional accounts
receivables and rights under certain additional factoring agreements (each as defined in the BCC

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Master Receivables Agreement); and

WHEREAS, BCC has entered into that certain shareholders agreement dated as of March __,

1998 (the “ESB Shareholder Agreement”) with Espirito Santo Bank of Florida for the formation of

ESB which contemplates the conduct of a factoring business by ESB and also contemplates the

_ continued business operations of BRFFC until such time as all of the outstanding obligations to
Debentureholders under the Trust Deed shall have been satisfied; and —

WHEREAS, such factoring businesses will operate simultaneously and BRFFC and ESB
may and will share certain mutual clients generating accounts receivable from certain of the same
account debtors and which are initially originated and/or contracted for by BCC; and

WHEREAS, the parties desire to coordinate their respective business operations in order to
account for accounts receivables and collections of factored accounts by clients and customers which
may be mutual clients of the parties; and

WHEREAS, the parties wish to set forth their agreement with respect to the coordination of
ESB’s and BRFFC’s businesses in accordance with the terms and conditions herein.

NOW, THEREFORE, in consideration of $10.00 and other good and valuable consideration,
_the receipt and sufficiency of which is hereby acknowledged, the parties agree as follows:

Article I
Definitions

Section 1.01 fined Terms. Except as otherwise provided herein, defined terms
shall have the same meanings as consistently used in the BCC Sale Documents.

Article H

' Section 2.01. Appointment of ESB as Sub-Servicer. In accordance with Section 8.3 of the
BCC Management Agreement, BCC hereby designates and appoints ESB as sub-servicing agent
under the BCC Management Agreement, and ESB acknowledges and agrees to such delegation, of
all of BCC’s rights, powers and duties as Servicer of the ESB Purchased Receivables, as defined ©

herein.

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Section 2.02. Consent t ointment of Sub-Servicer BRFFC hereby consents to the
delegation of authority of BCC to ESB as Sub-Servicer under the BCC Management Agreement.

Section 2.03. Fees an enses of Servicer. Notwithstanding the delegation and
appointment under Sections 2.01 and 2.02, BRFFC shall continue to be obligated to BCC for all
Servicing Fees relating to all non-ESB Purchased Receivables. ESB shall be solely responsible for
all costs and expenses incurred relating to the ESB Purchased Receivables.

Article Ill
ification of aster Recejvab reement

Section 3.01 Amendmentto BCC Master Receivables Agreement. BCC and BRFFC agree
that Sections 2.01 and 2.02 of the BCC Master Receivables Agreement is hereby modified and
amended to provide that BCC shall sell to BRFFC only certain Receivables and may sel! other

receivables and accounts to ESB.

Section 3.02 Right of First Refusal to Purchase Receivables. Notwithstanding Section
3.01, BRFFC shall have a right of first refusal to purchase any and all Receivables owned or
generated by BCC prior to any transfer, assignment or sale of Receivables to ESB, subject to the
terms and conditions contained in the BCC Master Receivables Agreement.

Section 3.03 Amendment.to Financing Statements. BCC, BRFFC and ESB shall execute
such amendments to financing statements as shall reasonably be required to reflect that BRFFC shall
maintain a security interest in only a portion of accounts receivables, contract rights and other assets
of BCC and that BCC shall be free to pledge or secure to ESB such accounts receivables, contract
rights and other assets not otherwise pledged to BRFFC.

Article IV
SB Accounts Receivable Purchas reemen

Section 4.01 Purchase of Receivables from BRFFC. (a) Subject to and upon the terms

- and conditions hereinafter set forth, BRFFC hereby sells, transfers, conveys, and assigns to ESB, and
ESB hereby purchases from BRFFC, all of BRFFC's right, title, and interest in and to the following

items:

(i) an undivided interest in BRFFC’s rights to purchase additional Receivables which
arise after the date of this Agreement and which relate to each Account and all Additional

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Accounts which become Accounts hereinafter relating to Factoring Agreements, provided,
however, the interests in Receivables being sold hereby relate solely to such Receivables as
are in excess of the amount or amounts of Receivables which BRFFC is required to maintain
as collateral under the Trust Deed (the “ESB Purchased Receivables”);

(ii) an undivided interest in BRFFC’'s nights under the Factoring Agreements, including
but not limited to such UCC-1's filed in connection with or under the Factoring Agreements
and relating to the ESB Purchased Receivables;

(iii) . all monies due or to become due with respect to the ESB Purchased Receivables and
Factoring Agreements under items (i) and (ii) above;

(iv) all proceeds (as defined in the UCC as in effect in the state where BRFFC's chief
executive office or books and records relating to the ESB Purchased Receivables are located)
thereof, and Insurance Proceeds relating to any ESB Purchased Receivables; and

(v) _ anundivided interest in BRFFC’s rights under the BCC Master Receivables Purchase
Agreement to the extent necessary or reasonable in connection with the ESB Purchased
Receivables.

(b) _Inconnection with the sale and conveyance, BRFFC agrees to record and file
one or more financing statements and/or amended financing statements in any and all jurisdictions
and in such manner as required by the applicable state law of each such jurisdiction as ESB deems
necessary to perfect its title in and to the ESB Purchased Receivables and Factoring Agreements and
to assign to ESB a portion of BRFFC’s rights under the existing UCC-1's and security agreements
arising under the Factoring Agreements.

(c) In connection with the sale and conveyance of any ESB Purchased
Receivables, BRFFC shall provide written notice to each of its customers of the sale and assignment
hereunder and direct its customers to reflect on the physical records of receivables that an ESB
Purchased Receivables created in connection with an Account has been sold, in whole or in part,
to ESB in accordance with this Agreement.

Section 4.02 Participation Interest in Ineligible Receivables. In accordance with the

provisions of the BCC Master Receivables Purchase Agreement, ESB shall not purchase any
Receivable which constitutes an Ineligible Receivable. Except as may otherwise be expressly agreed
“ to by ESB in writing, all of the credit risk and equity in all Ineligible Receivables shall remain with
BCC. The provisions contained in Section 2.02 of the BCC Master Receivables Purchase
Agreement relating to a participation interest in BCC relating to any Ineligible Receivables shall

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apply with respect to ESB’s rights against BCC with respect to such Ineligible Receivables.

Section 4.03. Purchase Price and Payment. ESB shall pay for all ESB Purchased
Receivables by making payment for such Receivables directly to the seller of such ESB Purchased
Receivables in accordance with the terms and conditions of each Factoring Agreement. In addition,
ESB shall pay to BRFFC the
sum of One Dollar ($1.00) for the transfer of rights under Sections 4.01 and 4.02. ESB shall
indemnify and hold BRFFC harmless from any and all costs, expenses and fees in connection with
any ESB Purchased Receivables, however arising. ,

Section 4.04. Intention of Parties: Option to ire Remaining Inte in Receivables
‘and Factoring Agreements. It is the intention of the parties hereto that BRFFC shall continue to

maintain its business of purchasing accounts receivables and shall at all times maintain its business
in accordance with all of the terms and conditions of the Trust Deed relating to obligations owed by
it to Debentureholders. It is also the intention of the parties that to the extent that Receivables may
be available for purchase under the various Factoring Agreements which are in excess of the amount
of Receivables BRFFC is required to maintain in accordance with the collateral ratio obligations
under the Trust Deed (i.e., 120% of the outstanding balance of debentures issued thereunder), that
those Receivables will be purchased by ESB. From and after such time as BRFFC shall have
satisfied and discharged all of its obligations under the Trust Deed, ESB shall have the option to
purchase all of BRFFC’s remaining right, title and interest in the Factoring Agreements for a
purchase price of One Dollar ($1.00).

Article V
ovisions Relating to Trust Dee

Section 5.01. Transfer of Accounts and Contracts Conditional. Immediately after

execution of this Agreement, the parties shall provide notice of this Agreement relating to the sale

and transfer of the ESB Purchased Receivables and interests in Factoring Agreements to the Trustee.

BRFFC shall continue to comply with all covenants and conditions of the Trust Deed and shall

provide all required certifications to the Trustee. ESB shall reasonably cooperate with BRFFC in

any requests made by the Trustee; provided, however, that nothing in this Agreement shall be
‘construed as to subject ESB to any term or condition of the Trust Deed. ,

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Article VI
Miscellaneous Provisions

Section 6.01. Amendment. This agreement and the rights and obligations of the parties
hereunder (i) may not be changed orally but only by an instrument in writing signed by the party
_ against which enforcement is sought and (ji) shall be construed in accordance with and governed by
the laws of the State of Florida.

Section 6.02 Governing Law. THIS AGREEMENT SHALL BE CONSTRUED IN
ACCORDANCE WITH THE LAWS OF THE STATE OF FLORIDA, WITHOUT REFERENCE
TO ITS CONFLICT OF LAW PROVISIONS, AND THE OBLIGATIONS, RIGHTS AND
REMEDIES OF THE PARTIES HEREUNDER SHALL BE DETERMINED IN ACCORDANCE
WITH SUCH LAWS. ,

Section 6.03 Notices. All demands, notices and communications hereunder shall be in
writing and shall be deemed to have been duly given if personally delivered at or mailed by
registered mail, return receipt requested, to

in the case of ESB to: E.S. Bankest Corp.
1395 Brickell Avenue
Seventh Floor
Miami, Florida 33131

in the case of BCC to: Bankest Capital Corp.
1395 Brickell Avenue
Seventh Floor
Miami, Florida 33131

in the case of BRFFC to: Bankest Receivables Finance and Factoring Corp.
1395 Brickell Avenue
Seventh Floor
Miami, Florida 33131

or, as to each party, at such other address as shall be designated by such party in a written notice to
each other party. . . co

Section 6.04 Severability of Provisions. Any provisions of this Agreement which are
prohibited or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the

extent of such prohibition or unenforceability without invalidating the remaining provisions hereof,

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and any such prohibition or unenforceability in any jurisdiction shall not invalidate or render
unenforceable such provision in any other jurisdiction.

Section 6.05. Assignment. Notwithstanding anything to the contrary contained herein, this
Agreement may not be assigned by the parties hereto.

Section 6.06. Further Assurances. Each party agrees to do such further acts and things and
to execute and deliver such additional assignments, agreements, powers and instruments as are
required to carry into effect the purposes of this Agreement.

Section 6.07. No Wavier: Cumulative Remedies. No failure to exercise and no delay in
exercising, on the part of any party, any right, remedy, power or privilege hereunder, shall operate
as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or privilege
hereunder preclude any other or further exercise hereof or the exercise of any other nght, remedy,
"power or privilege. The rights, remedies, powers and privileges herein provided are cumulative and
not exhaustive of any rights, remedies, powers and privilege provided by law.

Section 6.08. Counterparts. This Agreement may be executed in three or more counterparts
(and by different parties on separate counterparts), each of which shall be an original, but all of
which together shall constitute one and the same instrument. .

Section 6.09. Bindi ffect: Third-Party Beneficiaries. This Agreement will inure to the
benefit of and be binding upon the parties hereto, and their respective successors and permitted
assigns.

Section 6.10. Merger and Integration. Except as specifically stated otherwise herein, this
Agreement sets forth the entire understanding of the parties relating to the subject matter hereof, and
all prior understandings, written or oral, are superseded by this Agreement. This Agreement may
not be modified, amended, waived or supplemented except as provided herein. ,

Section 6.11. Headings. The headings herein are for purposes of reference only and shall
not otherwise affect the meaning or interpretation of any provision hereof.

Section 6.12. Schedules and Exhibits. The schedules and exhibits attached hereto and
referred to herein shall] constitute a part of this Agreement and are incorporated into this Agreement

for all purposes.

Section 6.13. Consent to Jurisdiction and Service of Process: Waiver of Jury Trial. All

judicial proceedings brought against Seller or Purchaser with respect to the Seller Documents or the

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Purchaser Documents may be brought in any state or federal court of competent jurisdiction in the
State of Florida, and by execution and delivery of this agreement, Seller and Purchaser accept for
themselves and in connection with their properties, generally and unconditionally, the non-exclusive
jurisdiction of the aforesaid courts, and irrevocably agrees to be bound by any final judgment
rendered thereby in connection with such documents from which no appeal has been taken or is
available.

IN WITNESS WHEREOF, ESB, BCC and BRFFC have caused this Agreement to be duly
executed by their respective officers as of the day and year first above written.

E.S. BANKEST CORP.

By: ke (x O\o~ —]
Hector Orlansky
Title: President

BANKEST RECEIVABLES FINANCE
AND FACTORING CORP.

By: os oh
Hectér Orlansky
Title: President

BANKEST CAPITAL CORP.

 

Title: Pfesident

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" EXHIBIT IV. -
MASTER CREDIT AGREEMENT

Exhibit A
Exhibit B
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Exhibit F

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MASTER CREDIT AGREEMENT

Dated as of April __, 1998

E.S. BANKEST CORP.,
as Borrower

and

BANK ESPIRITO SANTO INTERNATIONAL LTD.,
as Collateral Agent

 

Credit Agreement

U.S.$36,000,000.00

 

This Document Prepared By:

Gunster, Yoakley, Valdes-Fauli & Stewart, P.A.
’ One Biscayne Tower
Two South Biscayne Boulevard
Suite 3400
Miami, Florida, USA 33131

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~ the obligation on a date which is 185 days from its issue date. The outstanding principal

amount of each Six-Month Promissory Note shall bear interest, after as well as before
maturity, default and judgment, at a fixed rate per annum equal to the Six-Month London
Inter-Bank Offering Rate ("LIBOR") existing on the date which such Promissory Note is
issued plus 1.50% . Interest together with principal on each Six-Month Promissory Note
shall be payable in a single lump sum on the Maturity Date of such note. Interest shall be
calculated daily on the basis of a 360 day year.

(b)  Twelye-Month Promissory Notes. Twelve-Month Promissory Notes shall be
substantially in the form attached as Exhibit "B-2" hereto, and shall provide for maturity of

the obligation on a date which is 365 days from its issue date. The outstanding principal

" amount from time to time of each Twelve-Month Promissory Note shall bear interest, after
as well as before maturity, default and judgment, at a fixed rate per annum equal to the
Twelve-Month LIBOR existing on the date which such Promissory Note is issued plus
1.75%. Interest on each Twelve-Month Promissory Note shall be payable in two
installments, the first of which shall be on the 185th day after the date of issue. The second
installment shall be payable together with principal on the Maturity Date of such note.
Interest shall be calculated daily on the basis of a 360 day year.

(c) Rollover Option. Each Holder of a Promissory Note shall have the option to
extend the original Maturity Date of a Promissory Note by tendering to the Borrower a
Rollover/Maturity Extension Form (the "Rollover Option") substantially in the form attached
as Exhibit "C” hereto not less than 90 days prior to the original Maturity Date. In the event
that the Holder elects to extend the Maturity Date, and the Borrower accepts such extension,
the new Maturity Date of each such Promissory Note in the case of a Six-Month Promissory
Note shall be 185 days from the original Maturity Date; and in the case of a Twelve-Month
Promissory Note shall be 365 days from the original Maturity Date. Interest on the
Promissory Notes during such extension period shall be adjusted on the original Maturity
Date in accordance with the then applicable interest rates for Six Month Promissory Notes
or Twelve Month Promissory Notes, as the case may be, and such readjusted rate shall be
the interest rate during the extended term. The Borrower shall not be obligated to accept a
Rollover Option and may accept a Rollover option in its sole and complete discretion.

(d) Collateral and Security Interest. The Promissory Notes shall be secured by
a first priority security interest (the “Security Agreement”) in the Collateral substantially in

the form attached as Exhibit "D" hereto, which Security Agreement shall incorporate by
reference the terms of this Credit Agreement. The Promissory Notes shall be further secured
by such Additional Security Documents as are set forth in Exhibit "E", attached hereto. The
Promissory Notes, Security Agreements and the Additional Security Documents shall be
executed prior to, or simultaneously with, this Agreement.

(e)  IncreaseinLoan Amount. Notwithstanding the provisions of this Section

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1.02 which provides for the maximum principal amount of the Loan as $36,000,000.00,
Borrower may borrow additional amounts under this Credit Agreement and issue additional
Promissory Notes under subsections (a) or (b) of this Section 1.02 if and to the extent such
additional Promissory Notes do not cause the ratio of Collateral to the aggregate outstanding
principal amounts of the Promissory Notes to exceed the required Collateral Ratio as set

forth in Section 1.04 hereof.
(f) Additional Loans. Borrower, Collateral Agent and Lenders acknowledge that

the Notes initially being issued under this Master Credit Agreement are being issued to
foreign lenders pursuant to one or more exemptions from United States securities laws.
Borrower reserves the right to issue additional Notes under this Master Credit Agreement,
and the other Credit Documents, to persons other than solely foreign persons. In the event
of such issuance of Notes, the Borrower, Collateral Agent and Lenders agree that Borrower
may request a modification or amendment to this Master Credit Agreement and the other
Credit Documents, as Borrower shall reasonably request, in order to permit Borrower to
issue Notes to U.S. persons.

1.03. Ranking of Promissory Notes. Each Promissory Note, regardless of whether a Six-
Month Promissory Note or a Twelve-Month Promissory Note, and regardless of the exercise of
a Rollover Option, shall rank pari passu with all other Promissory Notes issued by Borrower
under this Master Credit Agreement, and shall be secured by the Collateral equally and ratably
according to the principal amount thereof and the interest from time to time owing thereon,
regardless of the Issue Date or terms of the Promissory Notes.

1.04. Borrower’s Right to Grant Additional Security Interests Ranking Equal to
Obligations Secured Hereby. Pursuant to the Shareholders Agreement between the Borrower's
existing shareholders, Espirito Santo Bank of Florida has agreed that so long as it is a shareholder
of Borrower, in.the event Borrower can not raise sufficient working capital through the issuance of
Notes under this Master Credit Agreement or other similar borrowings, Espirito Santo Bank shall
provide or cause third parties (which may or may not be affiliates of Espirito Santo Bank) to provide __
_ Borrower with a line or lines of credit of up to an aggregate maximum amount of Thirty Million
Dollars and 00/100 ($30,000,000.00). Advances under any such line shall be for a maximum of
three hundred sixty (360) days and shall bear interest (i) in the case of the first Five Million Dollars
($5,000,000.00) at the same rates as provided herein for Series A and B Notes, depending on
whether such advances are for 180 days or 360 days and (ii) for amounts in excess of $5,000,000,
at a rate not to exceed the one year LIBOR rate in effect on the date of the advance plus two percent
(2%) per annum. All advances under such lines of credit shall be evidenced and secured by notes
issued by Borrower under the terms and conditions then generally offered under this Master Credit
Agreement, excepting only as to rate of interest which shall be in the amount aforesaid, and such
advances are to be secured by a security interest in the same assets of Borrower which constitute the
Collateral under the Security Interest. In accordance with the foregoing, so long as the Debtor is
not in default under this Master Credit Agreement or the other Credit Documents, the Collateral

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Agent is authorized to permit the Debtor to execute and deliver a security interest to such lenders,
which security interest shall rank pari passu with the liens secured herein by the Collateral.

_ 1.05. Use of Proceeds of Loan. Borrower covenants and agrees that it will use all of
the Loan proceeds solely for the payment of the purchase price, including factoring advances, of
Insured Accounts Receivable from clients provided that Loan proceeds shall not be used to fund
more than 80% of the face value of each Insured Accounts Receivable so purchased. During any
period in which Borrower retains Loan proceeds which have not been used to purchase or advance
an account of purchased Insured Accounts Receivable, such unused proceeds shall be invested in
certificates of deposit or other accounts of insured financial institutions, United States federal
treasury bills and notes or other investment grade securities ("Approved Securities"). Such unused
proceeds and investments shall be pledged to the Collateral Agent as part of the Collateral.
Borrower agrees to maintain receivables of a face value (the “Collateral Ratio”) equal to at least
120% of the amount of Loan proceeds not invested in Approved Securities. In connection with the
limitations on the use of proceeds as contained herein, Borrower shall, upon request of the Collateral
Agent and not less often than quarterly, certify that the value of Collateral is in accordance with the
covenants contained in this Section 1.04 (the “Collateral Value Certification”).

1.06. Registration and Transfer of Promissory Notes. The Borrower shall maintain a
register of the Promissory Notes, in which shall be entered the name, address, telephone, telex and
telecopy number, if any, of each of holder of a Promissory Note, from time to time. The Borrower
may appoint one or more other or additional registrars of the Promissory Notes. Such registration
shall be noted on the Promissory Notes. No transfer of any Promissory Note shall be valid unless
made by the registered Holder or its successors or attorney duly appointed by an instrument in
writing in form and execution satisfactory to the Borrower, and upon compliance with such
reasonable requirements as the Borrower may prescribe; such transfer shall have been duly noted
on the Promissory Notes by the Borrower or a new Promissory Note shall have been issued and
certified in lieu thereof: and such transfer shall have been duly noted on one of the registers. The
provisions of this section are intended to comply with the provisions of Treas. Reg. §5f.103 and
§5f.163-1 which define the requirements applicable to "registered obligations". Neither the
‘Borrower nor any other registrar or registrars shall be required to transfer any Promissory Note
during the period of seven Business Days immediately preceding the date of maturity of such
Promissory Note. The registers shall at all reasonable times be open for inspection by the Lenders.

The Promissory Notes have not been and will not be registered under the United States
Securities Act of 1933, as amended (the "Securities Act”) nor the securities laws of the State of
Florida or any of the other States of the United States or any other jurisdiction. The offering of the
Promissory Notes will be made in reliance upon (i) a safe harbor from the registration requirements
of the Securities Act for offers and sales of securities which occur outside of the United States,
and/or (ii) an exemption from the registration requirements of the Securities Act for offers and sales
of securities which do not involve any public offering, and (iii) analogous exemptions under State
securities laws. As such, the Notes may not be offered, sold, transferred, accepted or delivered,

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directly or indirectly except pursuant to registration under the Securities Act and applicable state
laws and any non-United States securities laws, or pursuant to an available exemption from the
registration provisions of the Securities Act and applicable state securities laws and non-United
States securities laws.

The Promissory Notes are subject to substantial restrictions on transferability and resale and
may not be transferred or resold except as permitted under the Securities Act and the applicable
State Securities laws pursuant to registration or exemption therefrom, and the applicable securities
laws of any other jurisdiction (including the Florida Securities Act).

1.07. Aggregate Loan. The Loan is referred to in the aggregate which includes each
position in the Loan made by each of the Lender, whether such Lender funds its portion of the Loan
contemporaneously or not, and regardless of the Issue Date of each Promissory Note which may
and will vary among all of the Promissory Notes. The Loan is deemed to include the entire
aggregate unpaid accrued interest and unpaid principal balance owed from time to time by Borrower
pursuant to the terms of this Master Credit Agreement and the terms of the Promissory Notes.

1.08. Participant Lenders. Each Lender agrees severally and not jointly with the other
Lenders to make the Loan to Borrower and to fund that portion of the Loan represented by each such
separate Promissory Note issued by the Borrower. The Borrower covenants and agrees not to issue
a Promissory Note under this Master Credit Agreement unless and until a Lender has advanced the
funds for such Loan. Each Lender shall evidence its consent and joinder to the terms and conditions
of this Master Credit Agreement by executing and delivering to the Borrower and the Collateral
Agent a Joinder, Appointment of Collateral Agent and Consent, substantially in the form and
content attached as Exhibit "F" hereto. By execution of such Joinder, each Lender expressly
acknowledges and agrees that the maximum amount of the Loan under this Master Credit
Agreement may exceed $36,000,000.00 and that additional Promissory Notes may be issued by
Borrower which Promissory Notes, although issued after a Lender’s particular Promissory Note,
shall rank pari passu with all other outstanding Promissory Notes. Upon execution and delivery
of such Joinder, Borrower shall amend Schedule A hereto to include the name and address of
such Lender.

Subject to Article VII hereof, the Lenders have herein designated and granted Collateral
Agent the authority to determine and to take all such requisite actions as may be necessary or
desirable on behalf of the Lenders and in their interests to maintain, collect and enforce this Loan.
The Lenders participating herein shall rely upon and shall ratify the decisions, determinations and
instructions of the Collateral Agent and the Collateral Agent shall solicit the decisions of the
participating Lenders in all matters as required under Article VII hereof, in which case the Collateral
Agent shall be authorized to take action based upon the decisions of such Lenders as shall then
represent no less than 66.67% or all of the aggregate amounts outstanding under the Loan as

required by Section 7.07 hereof.

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1.09. Prepayments. The installments of principal due under the Promissory Notes may be
prepaid at any time prior to the stated installment dates thereof without penalty. Any such
prepayment shall not affect any other scheduled payment of principal.

1.10. Payment of Closing and Other Costs. Borrower agrees to pay on demand all out-of-

pocket expenses (hereafter "Closing Costs”) in connection with the preparation, execution and
delivery of the Loan. In addition to the foregoing, Borrower agrees to pay on demand all out-of-
pocket expenses of the Collateral Agent in connection with the administration of the Loan, including
any special problems which may arise with respect to this Master Credit Agreement, the Promissory
Notes and the other instruments and documents to be delivered hereunder and thereunder, and all
fees and expenses, if any, incurred by the Lenders in connection with the enforcement of this Master
Credit Agreement, the Promissory Notes, and the Credit Documents, or any of them. In addition,
Borrower shall pay (or reimburse the Lenders for paying) all documentary stamp taxes, intangible
taxes, and other taxes payable or determined to be payable in connection with the execution and
delivery of this Master Credit Agreement, the Promissory Notes, the Credit Documents, or any other
note, document, instrument or agreement delivered or to be delivered hereunder or thereunder, and
agrees to indemnify, save and hold harmless the Collateral Agent and the Lenders from any and al}
liabilities with respect to or resulting from any delay in paying or failure to pay such taxes.

1.11. Payments Generally. All payments (including prepayments) of the principal of, or
interest on, any of the Promissory Notes or in respect of any fees, costs, expenses or taxes hereunder,
or any other amounts payable hereunder, shall be paid directly by the Borrower to each Lender in
in United States Dollars in immediately available funds. Whenever any payment hereunder or on
any Promissory Note is stated as due on a Saturday, Sunday, or any public holiday under the laws
of the State of Florida, the maturity of such payment shall be extended to the next succeeding
business day and interest shall continue to accrue during such extension. Upon payment in fullof *
the principal of, and interest on, each such Promissory Note issued to a Lender, together with all
other amounts payable hereunder, each such Lender will surrender to Borrower such Promissory
Note duly marked canceled. .

1.12. Specified Currency. This is an international loan transaction in which the
requirement for paying in United States dollars and in Miami, Florida, is of the essence, and United
States dollars shall be the denominated currency of the Promissory Notes in all events. The
obligation of Borrower to repay the Promissory Notes and all other obligations arising under this
Master Credit Agreement shall not be discharged by any amount paid in any other currency or in any
other place, whether pursuant to a judgment or otherwise, except to the extent that full payment in
United States dollars is actually received.

1.13. Maximum Interest Rate. Notwithstanding any provisions of this Master Credit
Agreement to the contrary, in no event shall the aggregate "interest" (as that term is defined in
Section 687.02 of the Florida Statutes (1997)) hereunder exceed the maximum rate allowed by
applicable law. If from any circumstance whatsoever, fulfillment of any obligation hereof, at the

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time such performance shall be due, shall cause the effective rate of interest due hereunder to
exceed the maximum rate of interest allowed by applicable law, then, the obligation to be fulfilled
shall be reduced automatically to the extent necessary to prevent that effective rate of interest from
exceeding the maximum rate allowable under applicable law. Such reduction shall not constitute
an Event of Default hereunder.

ARTICLE II
Representations and Warranties
Borrower represents and warrants to the Lenders and to the Collateral Agent that:

2.01. Organization. Borrower is the duly organized, validly subsisting corporation under
the laws of the State of Florida and Borrower has all the corporate power and authority necessary
to conduct the activities necessary to enter into and perform this Agreement, to become obligated
for the repayment and for the performance of its obligations hereunder and under the Promissory
Notes and to pledge the Collateral as herein provided.

2.02. Performance. The performance of this Master Credit Agreement and the repayment
of the obligations and the Promissory Notes by Borrower will not, under present law: (i) require any
consent or approval of any shareholder or of any public authority, (1 i) violate any provision of law
(including without limitation any usury law), or violate any rule or regulation governing, or
applicable to Borrower, violate any rule, regulation, order, writ, judgment, injunction, decree,
determination or award presently in effect and having application to Borrower or to any transaction
contemplated hereby, or any provision of this Master Credit Agreement, or (iti) result in any breach
of, or constitute a default under, or result in the creation or imposition of any lien or charge upon
any property of Borrower pursuant to the terms of any document or any indenture, loan or credit
agreement (other than this Master Credit Agreement), or other agreement, lease or instrument to
which Borrower is a party or by which it may be bound or to which any of its properties may be
subject.

2.03. Validity of Documents. This Master Credit Agreement is, and the Promissory Notes
and the Documents when executed and delivered will be, the legal, valid and binding obligations
of Borrower enforceable against Borrower in accordance with their terms. No authorization,
consent, approval, license, exemption of or filing or registration with any court or other tribunal o7
any governmental department, commission, board, bureau or agency, domestic or foreign, is or
under present law will be necessary to the valid execution, delivery or performance by Borrower of
this Master Credit Agreement, any of the Promissory Notes or the Documents.

2.04. Litigation. There are no actions, suits or proceedings pending or, to the knowledge
of Borrower and its executive officers, threatened against or affecting Borrower, or any of the assets

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or properties of the Borrower, before any court or other tribunal or any governmental department,
commission, board, bureau or agency, domestic or foreign, which if determined adversely to
Borrower could have a material adverse effect on the financial condition, operations or properties
of Borrower or upon the ability of Borrower to perform its obligations hereunder, or its obligations
under the Promissory Notes.

ARTICLE I
Portfolio Interest Qualification

3.01. Portfolio Interest Qualification. The Promissory Notes are designed and intended
to constitute "registered obligations” as defined by the Code and, when held by non-U.S. persons,
are intended to qualify for exemption from United States withholding taxes on interest paid to
foreign lenders pursuant to the Repeal of Tax on Interest of Non-Resident Alien Individuals and
Foreign Corporations Received from Certain Portfolio Debt Investments provisions of Section
871(h) and 881(c) of the Code. Borrower shail in no way take any action in violation of such
provisions or which may result in the Promissory Notes failing to so qualify. All terms and
conditions of this Master Credit Agreement shal] be construed in accordance with such provisions.
In the event of any conflict between this Master Credit Agreement or the other Credit Documents
and the provisions applicable to Portfolio Debt Investments, the provisions applicable to Portfolio
Debt Investments shall control and the Credit Documents shal! automatically be modified
accordingly.

3.02. Registration. In accordance with Section 1.3 of this Master Credit Agreement,
transfer and surrender of the Promissory Notes may be achieved only by actual surrender of the
Promissory Notes to the Borrower and registration of the transfer by the Borrower.

3.03. Certification. In accordance with applicable Code sections and United States
Treasury regulations, each non-United States holder of Promissory Notes shall provide to the
Borrower a certification stating, under penalties of perjury, that the holder is not a United States
person. Certifications shall be obtained annually and shall be retained by the Borrower for a period
of not less than four years. Each Lender or holder of a Promissory Note shall immediately notify
the Borrower of any changes to any certifications.

3.04. Additional Notes to United States Persons. In accordance with Section 1.02(f) of this
Master Credit Agreement, the Borrower may issue notes to United States Persons which notes will
' be substantially the same as the Promissory Notes contemplated under this Master Credit
Agreement, and which will be in registered form but need not otherwise comply with the Portfolio
Debt exemption provisions applicable to foreign lenders.

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ARTICLE IV
Covenants of Borrower

4.01. Affirmative Covenants. At all times prior to the Maturity Date, and thereafter until
payment in full of all of the Promissory Notes and the performance of all of its other obligations
hereunder and under the Loan Documents, unless excused in writing by the Lenders, Borrower will:

(a) Corporate Existence. Maintain its existence in good standing as an entity
authorized to contract for credit and perform the obligations hereunder and pursuant to the
Promissory Notes under the Jaws of the State of Florida.

(b) Performance of Loan Documents, Etc, Duly and punctually perform each and
every obligation of Borrower under this Master Credit Agreement, the Promissory Notes and each

of the Credit Documents and execute and deliver all such other and further instruments, and do and
perform all such further acts and things, as the Lenders or the Collateral Agent may reasonable
request to protect or further protect and assure to the Lenders the rights and benefits intended to be
afforded.

(d) Records and Books of Account. Keep adequate records and books of account

in which complete and correct entries will be made in accordance with sound accounting practice,
reflecting all financial transactions of these credit arrangements.

4.02. Negative Covenants. At all times prior to the Maturity Date and thereafter until
payment in full of the Promissory Notes and the performance of all of its other obligations
hereunder, Borrower will not, without the written consent of the Lenders in each case, take any
action, fail to take any action, do any thing or cause another to do any thing or take any act which
shall diminish the value of the undertaking hereunder by the Lenders or repudiate the obligations
hereunder or under the Promissory Notes.

ARTICLE V

Events of Default

5.01. Events of Default Ifany one or more of the following events (hereinafter an "Event —
of Default”) shall occur:

(a) default shall be made in any repayment of the principal of or the payment of
interest on any of the Promissory Notes when due and payable, whether at an installment
date, at maturity, by notice of intention to prepay or otherwise; or

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(b) default shall be made in the due observance or performance of any term,
covenant or condition contained in Section 4.01 or 4.02 hereof; or

(c) default shall be made in the due observance or performance of any other term,
covenant or condition contained in this Master Credit Agreement or any Credit Document
and such default shall have continued unremedied for a period of 30 days after written notice
thereof, specifying such default and requiring that it be remedied, shall have been given to
Borrower by the Collateral Agent (which notice the Collateral Agent shall give if required
to do so by the Lenders); or

(d) any representation or warranty made by Borrower herein or in any Credit
Document, or any statement or representation made in any certificate, report or opinion
delivered pursuant hereto or thereto, shall prove to have been incorrect in any material
respect when made; or:

(e) any obligation of Borrower (other than the Loan) payable within or enforceable
pursuant to the laws of the State of Florida for the payment of borrowed money becomes or
is declared to be due and payable prior to its stated maturity or there shall occur any event
permitting the holder of any such obligation or a trustee therefor to make any such
declaration and such event shall have continued past any grace period applicable thereto;

then, upon the happening of any one or more of the foregoing Events of Default which shall be
continuing, any and-all further obligations (if any) of the Lenders shall terminate and all sums
payable by Borrower hereunder and under the Promissory Notes shall become and be immediately
due and payable upon declaration to such effect delivered by the Collateral Agent to Borrower
(which declaration the Collateral Agent shall-deliver if requested to do so by the Lenders); and the
Promissory Notes then outstanding shall be accelerated and immediately mature and become due
and payable without declaration or other notice to Borrower. Borrower expressly waives any
presentment, demand, protest or other notice of any kind.

ARTICLE VI
The Collateral Agent

6.01. Appointment and Authorization. Each Lender hereby irrevocably appoints and
authorizes the Collateral Agent to take such action on its behalf and to exercise such powers under
this Credit Agreement as:are specifically delegated to the Collateral Agent by the terms hereof,
together with such other powers as are reasonably incidental thereto. Without limiting the generality
of the foregoing, each Lender hereby authorizes the Collateral Agent to execute and deliver, and
to perform all of the Collateral Agent's obligations under the Master Credit Agreement, the Notes.
and the documents. The relationship between the Collateral Agent and each of the Lenders is only _

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that of agent and principal and has no fiduciary aspects, and the Collateral Agent’s duties hereunder
are acknowledged to be only ministerial and not involving the exercise of discretion on its part.
Nothing in this Agreement or elsewhere contained shall be construed to impose on the Collateral
Agent any duties or responsibilities other than those for which express provision is herein made.
In performing its duties and functions hereunder, the Collateral Agent does not assume and shall not
be deemed to have assumed, and hereby expressly disclaims, any obligation or responsibility toward,
or any relationship of agency or trust with or for, Borrower. As to matters not expressly provided
for in this Agreement, the Collateral Agent shall not be required to exercise any discretion or to take
any action or communicate any notice, but shall be fully protected in so acting or refraining from
acting upon the instructions of the Lenders and their respective successors and assigns; provided,
however, that in no event shal] the Collateral Agent be required to take any action which exposes
it to personal liability or which is contrary to this Master Credit Agreement or applicable law, and
the Collateral Agent shall be fully justified in failing or refusing to take any action hereunder unless
it shall first be specifically indemnified to its satisfaction by the Lenders against any and all liability
and expense which may be incurred by it by reason of taking or omitting to take any such action.

6.02. Duties and Obligations. In performing its functions and duties hereunder on behalf
of the Lenders, the Collateral Agent shall exercise the same care and skill as it would exercise in
dealing with loans for its own account. Neither the Collateral Agent nor any of its directors,
officers, employees or other agents shall be liable for any action taken or omitted to be taken by it
or them under or in connection with this Master Credit Agreement except for its or their own gross
negligence or willful misconduct. Without limiting the generality of the foregoing, the Collateral
Agent (i) may consult with legal counsel and other experts selected by it and shall not be liable for
any action taken or omitted to be taken by it in good faith and in accordance with the advice of such
experts; (ii) makes no representation or warranty to any Lender as to, and shall not be responsible
to any Lender for, any recital, statement, representation or warranty made in or in connection with
this Master Credit Agreement or in any written or oral statement (including a financial or other such
statement), instrument or other document delivered in connection herewith or furnished to any of
the Lenders by or on behalf of Borrower; (iii) shall have no duty to ascertain or inquire into
Borrower's performance or observance of any of the covenants or conditions contained herein or to
inspect any of the property (including the books and records) of Borrower or inquire into the use of
the proceeds of the Loans or to inquire into the existence or possible existence of any Event of
Default or of any act, event, circumstance or condition which with the giving of notice or the lapse

_of time, or both, would constitute such an Event of Default; (iv) shall not be responsible to any
Lender for the due execution, legality, validity, enforceability, effectiveness, genuineness,
sufficiency, collectibility or value of this Agreement or any instrument or document executed or
issued pursuant hereto or in connection herewith; (v) except as expressly provided herein in respect
of information and data furnished to the Collateral Agent for distribution to the Lenders, shal] have
no duty or responsibility, either initially or on a continuing basis, to provide to any Lender any credit
or other information with respect to Borrower whether coming into its possession before the making
of the Loan or at any time or times thereafter; (vi) shall incur no liability under or in respect of this
Master Credit Agreement for, and shall be entitled to rely and act upon, any notice, consent,

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certificate or other instrument or writing (which may be by facsimile (telecopier), telegram, cable,
telex or other electronic means) delivered to it and believed by it to be genuine and correct and to
have been signed or sent by the proper party or parties; and (vii) shall be under no duty to inquire
into or investigate the validity, accuracy or content of any notice, consent, certificate or other
instrument delivered to it.

6.03. Independent Credit Decision. Each Lender acknowledges to each of the other
Lenders and to the Collateral Agent that it has, independently and without reliance upon the
Collateral Agent or any other Lender, and based upon such documents and information as it has
deemed appropriate, made its own independent credit analysis and decision to enter into this Master
Credit Agreement. Each Lender also acknowledges that it will, independently or through other
advisers and representatives but without reliance upon the Collateral Agent or any other Lender,
and based upon such documents and information as it shall deem appropriate at the time, continue
to make its own credit decisions in taking or refraining from taking any action under this
Agreement.

6.04. Indemnification. The Lenders agree to indemnify the Collateral Agent (to the extent
not reimbursed by Borrower), ratably according to the respective unpaid principal amounts of their
Loans (or if there be no Loans outstanding at the time, ratably according to the respective
commitments of the Lenders), from and against any and all liabilities, obligations, losses, damages,
penalties, actions, judgments, suits, costs, expenses and disbursements of any kind or nature
whatsoever which may be imposed on, incurred by or asserted against the Collateral Agent in any
way relating to or arising out of this Master Credit Agreement or any of the Credit Documents or
any action taken or omitted to be taken by the Collateral Agent hereunder or under any of the Credit
Documents; provided that none of the Lenders shall be liable for any portion of such liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements
resulting from the Collateral Agent's gross negligence or willful misconduct. Without limiting the
generality of the foregoing, each Lender agrees to reimburse or advance to the Collateral Agent
promptly on demand, for such Lender's ratable share (based upon the aforesaid apportionment) of
any out-of-pocket expenses (including counsel fees and disbursements) incurred by the Collateral
Agent in connection with the preparation, execution, administration or enforcement of, or the
preservation of any rights under, this Master Credit Agreement, the Promissory Notes and the Credit
Documents to the extent that the Collateral Agent is not advanced or reimbursed for such expenses
by Borrower.

6.05. Successor Collateral Agent. The Collateral Agent may resign at any time by giving
written notice of such resignation to the Lenders and Borrower, and may be removed at any time,
with or without cause, upon ten (10) days’ prior written notice to the Collateral Agent and Borrower
in writing signed by 66.67% of the Lenders, such resignation or removal to be effective only upon
the appointment of a successor Collateral Agent as hereinafter provided. The Collateral Agent shall
have the right to withhold an amount equal to the amount due and owing to the Collateral Agent,
plus any costs and expenses the Collateral Agent shalt reasonably believe may be incurred by the

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Collateral Agent in connection with its resignation or removal as Collateral Agent. Upon any such
notice of resignation or removal, the Lenders shall appoint a successor Collateral Agent upon
written notice to Borrower and the retiring Collateral Agent. If no successor Collateral Agent shall
have been appointed by the Lenders and shall have accepted such appointment within 30 days after
the retiring Collateral Agent shall have given notice of resignation or the Lenders shall have given

"notice of the removal of the retiring Collateral Agent, the retiring Collateral Agent may, upon notice
to Borrower and the Lenders, appoint a successor Collateral Agent. Upon its acceptance of any
appointment as Collateral Agent hereunder, the successor Collateral Agent shall succeed to and
become vested with all of the rights, powers, privileges and duties of the retiring Collateral Agent,
and the retiring Collateral Agent shall be discharged from its duties and obligations under this
Master Credit Agreement. After any retiring Collateral Agent's resignation or removal hereunder,
the provisions of this Article VI shall inure to its benefit as to any actions taken or omitted to be
taken by it while it was Collateral Agent under this Master Credit Agreement.

ARTICLE VII

Arrangement Amongst Lenders

7.01. Participation in Master Credit Agreement. The Lenders agree that each Lender has
an undivided interest in the Loan in the percentage equal to the proportion of such Lender’s

principal amount indicated on its Promissory Note as bears to the aggregate outstanding principal
balance on all outstanding Promissory Notes and each Lender further agrees that such percentages
shall reflect each Lender's percentage interest in the Master Credit Agreement and the Credit
Documents and the rights and powers contained therein. Collateral Agent shall hold the Loan
Documents for and on behalf of the Lenders and to the extent of each Lender's interest therein.
Upon funding, each Lender shall be entitled to receive as evidence of its participation in the Loan
a Promissory Note as provided herein and each Lender agrees that its Promissory Note is intended
to reflect and evidence such percentage participation. The respective interests of the Lenders shal!
be ratably proportionate and none shall have priority over the others.

7.02. Receipt of Payments. Except as expressly provided herein to the contrary, Collateral
Agent shall promptly, upon receipt of written instructions from 66.67% of Lenders, credit to each
of the Lender's account or accounts at Collateral Agent each Lender's pro rata part of each
repayment of principal, payment of interest or payment of expenses, taxes, fees or otherwise as of
the date of payment or due date thereof, as applicable. All late charges, penalties, costs, expenses
taxes and any other charges or additional amounts owed shall be shared pro rata by the Lenders
determined based upon each Lender's pro rata share of the then outstanding principal balances owed
by Borrower. Except as expressly provided herein to the contrary, if any of the Lenders ever
receives any payment (whether voluntarily, involuntarily, by offset or application against any
existing indebtedness, by virtue of any exercise of legal rights, or otherwise) on account of the Loan
or treated by such Lender as on account of the Loan or any other amount payable hereunder, other

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than amounts reimbursable to a particular Lender or Lenders, and such payment is in excess of such
Lender's pro rata share thereof (based upon the total amounts outstanding that are owed to the
Lenders by Borrower), then such Lender obtaining such excess payment shal] (unless resolved in
accordance with this Section) pay to the other Lenders the amount necessary to equalize the excess
payment among all of the Lenders. This provision is intended to require that any sum applied or to
be applied to the obligations of Borrower under this Loan shall be shared in a manner so that each
of the Lenders receives (or retains) up to, but not in excess of, its pro rata share thereof.

7.03. Borrower Failure to Pay Expenses. In the event of any failure of Borrower to pay
expenses, fees, types, costs or additional amounts required by this Master Credit Agreement or the
Credit Documents, Collateral Agent may request each of the Lenders to advance a proportionate’
share of such amounts as may be necessary to pay the same and the Lenders shall remit their
applicable portion to the Collateral Agent within ten (10) days after notice and request thereof. In
the everit any Lender shall fail or refuse to pay its proportionate share of such amounts or shall fail
or refuse to reimburse the Collateral Agent upon request as provided, then the other Lenders may
advance such additional sums as necessary and the Collateral Agent may apply any amounts paid
by Borrower or held by Collateral Agent first to pay such advances or reimbursements to the other
Lenders before any further distribution of monies to such Lender.

7.04. Sharing of Expenses and Losses. Each of the Lenders shall pay its pro rata share of
all reasonable attomeys’ fees and other expenses incurred in connection with the maintenance,

collection or enforcement of the obligations of Borrower under the Loan, and each of the Lenders
shall be entitled to a pro rata share of any payments subsequently received with respect to such fees
and expenses. Except as expressly provided herein to the contrary, nothing herein shall be deemed
- (a) to give any of the Lenders an advantage over any of the other Lenders with respect to
reimbursement for or other payment on account of any of Borrower's obligations under the Loan or
of any attorneys’ fees and expenses incurred by the Collateral Agent m connection with enforcement
of the obligations of Borrower under any of the Promissory Notes, or (b) to relieve any of the
Lenders from absorbing its pro rata share of any losses sustained with respect to the amount of any
of Borrower's obligations under the Loan, except to the extent unilateral actions or inactions by any
of the Lenders result in any credit, allowance, set-off, defense, or counterclaim solely with respect
to all or any part of such Lender's pro rata obligations under Loan. Upon demand, each of the
Lenders shall repay to Collateral Agent any sums distributed to any of the Lenders which the
_ Collateral Agent shall be required to return to Borrower or to any receiver, trustee, or custodian for
- Borrower.

7.05. No Joint Venture orLoan. Neither the execution of this Master Credit Agreement;

“the sharing in the Loan, nor any agreement to share in profits or losses arising as a result of the
transactions contemplated hereby is intended to be or to create, and the foregoing shall not be
construed to be or to create, any partnership, joint venture, or other joint enterprise between the
Lenders; and neither the execution of this Master Credit Agreement, nor the management and
administration of the Loan and the related documents by the Collateral Agent, nor any other right,

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duty or obligation of the Collateral Agent, nor any other right, duty or obligation of Collateral Agent
under or pursuant to this Master Credit Agreement is intended to be or to create any express,
implied, or constructive trust or other fiduciary relationship between or amongst the Collateral
Agent and the Lenders. No amounts funded by any of the Lenders pursuant to any of the Promissory
. Notes shall be considered a loan by any of the Lenders to the Collateral Agent.

ARTICLE VIO
Miscellaneous .
8.01. No Waiver, Cumulative Remedies. No failure or delay on the part of the Collateral

Agent or any Lender or any other holder of any Promissory Notes in exercising any right, power or.
remedy hereunder or under any Loan Document shall operate as a waiver thereof; nor shall any
single or partial exercise of any such right, power or remedy preclude any other or further exercise
thereof or the exercise of any other right, power or remedy hereunder. The remedies provided for
herein and in the Credit Documents are cumulative and not exclusive of any remedies provided by
- law. ,

8.02. Amendments, Etc. No amendment, modification, termination or waiver of this
Master Credit Agreement or any provision hereof, nor any consent to any departure by Borrower
therefrom, shall be effective unless the same is in writing and signed (or authorized by a writing
signed) by the Collateral Agent and then any such waiver or consent shall be effective only in the
specific instance and for the specific purpose for which given. No notice to or demand on Borrower
in any case. shall entitle Borrower to any other or further notice or demand in similar or other
circumstances. .

8.03. Addresses for Notices, Etc. All notices, requests, demands, directions, declarations
and other communications provided for herein or in any Promissory Notes shall (except as
- otherwise expressly provided) be sent by confirmed telex or transmitted by facsimile or delivered
in hand to the applicable party at its address indicated below:

If to Borrower:

E.S. BANKEST CORP.

1395 Brickell Avenue

Miami, Florida 33131

Telephone: (305) 358-5610

Telefax: (305) 372-2816

Attention: Hector Orlansky, President

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with copy to:

Mark J. Scheer, Esq.

Gunster, Yoakley, Valdes-Fauli & Stewart, P.A.
One Biscayne Tower

Two South Biscayne Boulevard, Suite 3400
Miami, Florida 33131-1897

If to the Collateral Agent:

BANK ESPIRITO SANTO INTERNATIONAL LTD
c/o Cayman Intemational Bank & Trust Company
P.O. Box 887

Grand Cayman, BW]

Telephone: (809) 949-8655

Telecopy: (809) 949-7946

Attention: J. Bothwell

If to any Lender:
At its address set forth on Exhibit "G" hereto.

or, as to each party, at such other address as shall be designated by such party in a written notice
to all of the others complying as to delivery with the terms of this Section. All such notices,
requests, demands, directions, declarations and other communi-cations shall be effective when
received.

8.04. Applicable Law, Jurisdiction. Etc. This Master Credit Agreement and each of the
Promissory Notes and Credit Documents, and all of the rights and obligations of the parties
hereunder and thereunder, shall be governed by and construed and enforced in accordance with the
laws of the State of Florida.

8.05. Execution in Counterparts. This Master Credit Agreement may be executed in any
number of counterparts and by different parties in separate counterparts, each of which when so
executed and delivered shall be deemed to be an original and all of which, taken together, shalt
constitute but one and the same instrument.

8.06. Binding Effect: Assignment. This Master Credit Agreement shall bind and inure to
. the benefit of Borrower, the Collateral Agent and the Lenders and their respective successors and
assigns, except that Borrower shall not have the right to assign any of its rights hereunder or any
interest of it herein without the prior written consent of the Lenders in each case. No person not a
party hereto is intended to be benefited hereby.

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8.07. Severability of Provisions. Any provision of this Master Credit Agreement or any
Promissory Notes or Credit Document which is prohibited or unenforceable in any jurisdiction
shall, as to such jurisdiction, be ineffective solely to the extent of such prohibition or
unenforceability without affecting the validity or enforceability of the remainder of this Master
Credit Agreement or such Promissory Notes or Credit Document or the enforceability of such
provision in any other jurisdiction.

8.08. Captions. Article and section captions in this Agreement are included for
convenience of reference only and shall not constitute a part of this Agreement for any other

purpose.

8.09. Waiver of Jury Trial. Borrower and the Lenders, after consulting or having had the
opportunity to consult with their respective counsel, knowingly, voluntarily and intentionally waives
any right each may have to a trial by jury in any action brought with respect to any of the Loan
Documents or any related instrument or agreement of any of the transactions contemplated by this
Master Credit Agreement, the Promissory Notes or any course of conduct, dealing, statements
(whether oral or written) or actions of any party to this Master Credit Agreement, the Promissory
Notes, or any other Credit Documents. Neither Borrower nor the Lenders shall not seek to
consolidate, by counterclaim or otherwise, any such action in which a jury trial cannot be or has not
been waived. These provisions shall not be deemed to have been modified in any respect or
relinquished by any of the parties except by a written instrument executed by all of the parties.

IN WITNESS WHEREOF, Borrower and the Collateral Agent have caused this Master
Credit Agreement to be executed by their proper corporate officers thereunto duly authorized as of
the day and year first above written.

BORROWER:

E.S. BANKEST CORP., a Florida corporation

By:

 

COLLATERAL AGENT:

BANK ESPIRITO SANTO INTERNATIONAL,
LTD., a Cayman Islands corporation

By:

 

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IBIT IV.
MASTER CREDIT AGREEMENT

Exhibit A

Defined Terms

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EXHIBIT w A vv
DEFINED TERMS

For purposes of this Master Credit Agreement, the following terms shall have the ie respective
meanings set out below:

"Account" shall mean each individual account receivable established pursuant to a factoring
agreement between E.S. Bankest Corp. and an Obligor.

“Approved Securities” has the meaning ascribed thereto in Section 1.04.

"Business Day" means a day on which banks are open for business in Miami, Florida and in’
the British Virgin Islands.

"Code" means the United States Internal Revenue Code of 1986, as amended from time to.
time.

"Collateral" means all of Borrower’s right, title and interest in and to the following, whether
now owned or hereafter acquired, whether now or hereafter existing and wherever located:

(a) _ a pledge and security interest in all of Borrower’s rights to the
payment of money however evidenced or arising, including each
existing and future account, contract right, general intangible,
instrument and document, within the meaning of the Florida Uniform
Commercial Code (the "Code"), and in all trademarks, copyrights,
good will, names, patents, licenses, inventions, causes of action and
goods giving rise to Borrower’s right to the payment of money,
including such goods in which Borrower has retained a security
interest or which have been reclaimed, retumed or repossessed, all
documents of title and warehouse receipts, and all book entries,
records and files relating to the foregoing, and the proceeds (cash and
non-cash) of all the foregoing and any insurance policies relating
thereto;

(b) _apledge and security interest in all deposit accounts, credits,
securities, moneys, or other property of Borrower which may at any
time be in the possession of, delivered to, or owed by the Collateral
Agent, including any proceeds or return or unearned premiums of
insurance, and the proceeds of all the foregoing property; .and

(c) a pledge and security interest in all short-term interest bearing
securities, certificates of deposits and any other investment purchased

 

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by Borrower or established by Borrower with proceeds of the Loan.

"Credit Insurance Protection" means insurance obtained by Borrower from American Credit
Indemnity Company, or other qualified credit insurance company with an A.M. Best rating of not
less than A+ Superior, which guarantees Borrower, as the “Insured”, against loss due to insolvency
of Obligors, as those terms are defined in the Policy.

"Eligible Account" shall mean each Account:
(a) which is payable in United States dollars;
(b) which is serviced by Borrower, and

(c) which has not been charged off in accordance with ES.
Bankest Corp.'s account guidelines.

"Eligible Receivable” shall mean each Receivable:
(a) which has arisen under an Eligible Account;

(b) which was created in compliance, in all material respects,
with all requirements of law applicable to Borrower and pursuant to
and in compliance with a factoring agreement which is enforceable
in accordance with its terms (except that such enforceability may be
limited by general principles of equity, whether considered in a suit
at law or in equity, or by any applicable bankruptcy, insolvency or
other laws of general application affecting creditor's nghts);

(c) with respect to which all consents, licenses, approvals or
authorizations of, or registrations or declarations with, any
Governmental Authority required to be obtained, effected or given in
connection with the creation of such Receivable or the execution,
Gelivery and performance by Borrower of a factoring agreement
pursuant to which such Receivable was created, have been duly
obtained, effected or given and are in full force and effect as of such
date of creation;

(d) as to which, at the time of the creation of such Receivable,
Borrower has good and marketable title thereto free and clear of all
liens;

(e) which is the legal, valid and binding payment obligation of
the Obligor thereon, enforceable against such Obligor in accordance

 

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with its terms, except as such enforceability may be limited by
applicable debtor relief laws, and except as such enforceability may
be limited by general principles of equity (whether considered in a
suit of law or in equity); and

(f) which constitutes an "account" under and as defined in Article
9 of the Uniform Commercial Code as then in effect in the State of
Florida.

"Event of Default” means an event described in Section 5.01.

"Governmental Approval” means any authorization, order, permit, approval, grant, license,
consent, commitment, right, franchise, privilege, certificate, judgment, writ, injunction, award,
determination, direction, decree or demand or the like which may be issued or granted by law or by
tule or regulation of any Governmental Body. ,

"Governmental Body" means any government, parliament or legislature, whether federal,
provincial, state, municipal or otherwise, or any regulatory authority, agency, commission or board
of any government, parliament or legislature, whether federal, provincial, state, municipal or
otherwise, or any court or (without limitation to the foregoing) other law-making, regulation-making
or rule-making entity having or purporting to have jurisdiction in the relevant circumstances, or any
person acting or purporting to act under the authority of any of the foregoing.

“Holder” and “Holders” means the Persons entered in the Registers as holders of any of the
Promissory Notes. ,

"Insured Accounts Receivable” shall include only Eligible Receivables for which Borrower
has obtained, and continues to maintain, Credit Insurance Protection or Eligible Receivables which
_ are receivables due from the United States government, or state government or instrumentality or

agency thereof.

"Lenders’ Resolution” means an instrument approving any action or circumstance specified
therein or containing a determination by all of the Lenders or any of them or requiring the Collateral
Agent to take some action or proceeding specified therein, and signed in one or more counterparts
by Holders of at least 66-2/3% of the outstanding principal amount, in the aggregate, of all of the
Promissory Notes.

 

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"Maturity Date shall mean: -

(a) with respect to a Six-Month Promissory Note, a date which is 185 days from
its issue date;

(b) _ with respect to a Twelve-Month Promissory Note, a date which is 365 days
from its issue date; ;

(c) with respect to a Roll-Over Option of s Six-Month Promissory Note, a date
which is 185 days from the original Maturity Date;

(d) _—- with respect toa Roll-Over Option of a Twelve-Month Promissory Note, a
date which is 365 days from the original Maturity Date. a.

"Obligor” shall mean, with respect to any Account, the Person or Persons obligated to make
payments with respect to such Account, including any guarantor thereof.

"Person" or "person" means an individual, corporation, partnership, trust, joint venture,
unincorporated organization, or any other juridical entity or a Goverment Body; and pronouns have
a similarly extended meaning.

"Promissory Notes" means collectively at any time, the Series A and B Notes issued and
certified hereunder and outstanding at such time.

"Receivable" shall mean any and all amounts owing by the Obligors under an Account from
time to time, including, without limitation, the right to payment of amounts owing for the payment
of goods and services. A Receivable shall be deemed to have been created at the end of the day on
the date of processing of such Receivable by the Borrower.

 

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HIBIT IV

MASTER CREDIT AGREEMENT

Exhibits B

B-1
Series A
Promissory Note

B-2
_ Series B
Promissory Note

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EXHIBIT “B.1"

 

Any United States person who holds this obligation may be subject to
limitations under United States income tax laws, including the
limitations provided in Sections 165(j) and 1287(a) of the Internal
Revenue Code of 1986, as amended. :

 

 

 

THIS PROMISSORY NOTE HAS NOT BEEN AND WILL NOT BE REGISTERED UNDER THE UNITED
STATES SECURITIES ACT OF 1933, AS AMENDED, UNDER THE SECURITIES LAWS OF ANY STATE.
OF THE UNITED STATES, NOR UNDER THE SECURITIES LAWS OF ANY OTHER JURISDICTION.
THE PROMISSORY NOTE HAS NOT BEEN AND IS NOT BEING OFFERED FOR SALE IN THE UNITED
STATES (OR ANY OF ITS TERRITORIES, POSSESSIONS OR AREAS SUBJECT TO ITS JURISDICTION),
OR TO ANY PERSON WHO IS A U.S. PERSON (AS SUCH TERM IS DEFINED IN REGULATION S
UNDER THE SECURITIES ACT OF 1933, AS AMENDED). THIS NOTE IS SUBJECT TO SUBSTANTIAL
RESTRICTIONS ON RESALE.

SERIES A
PROMISSORY NOTE

NOTE NO.
The capitalized and defined terms used in this Promissory Note shall have the following meanings:

HOLDER: whose mailing address is c/o

MAKER: E.S. BANKEST, LLC, a Florida corporation with its principal business address at 999
Brickell Avenue, Miami, Florida 33131

DATE:
PRINCIPAL AMOUNT: : (s )

DUE DATE:

- PLACE OF EXECUTION: .

 

GOVERNING LAW: The laws of the State of Florida with regard to its conflicts of law principles shall
govern all matters hereunder.

LOAN AND SECURITY DOCUMENTS: Master Credit Agreement and Security Agreement dated as’
of April__, 1998.

 

 

SECURITY: The property described in and conveyed or encumbered by the Security Documents.

 

FOR VALUE RECEIVED, Maker hereby promises to pay to the order of Holder, in lawful money
of the United States of America at the office of the Holder, or at such other place outside the United States as
Holder may designate in writing, the Principal Amount, or so much of the Principal Amount as shal] be

advanced by Holder to Maker with interest thereon, at the rate percent(__%), per annum.
Interest shall be calculated daily and on the basis of a 360-day year.

 

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Accrued interest and principal shall be paid in a single lump sum on the Maturity Date.
This Note may be repaid at any time without penalty.

This Note is made pursuant to that certain Master Credit Agreement between E.S. BANKEST LLC,
as Borrower, BANK ESPIRITO SANTO INTERNATIONAL, LTD., as Collateral Agent and the Lenders (as
defined therein) and the obligations of the Holder and Maker hereunder shall be subject to all the terms and
conditions of the Loan and Security Documents.

The Maturity Date of this Note may be extended by Holder’s execution of a Request for Roll-
Over/Maturity Extension of Promissory Note if accepted by the Borrower and certified by the Collateral
Agent in accordance with the terms and conditions of the Master Credit Agreement.

Notwithstanding anything herein to the contrary, this Note is intended to qualify under the provisions
of Sections 87! and 881 of the United States Internal Revenue Code of 1986, as amended, relating to the
Repeal of Interest on Portfolio Debt Obligations of Certain Foreign Persons and, in accordance therewith, this
Note may only be transferred by Holder in accordance with the provisions of the Master Credit Agreement and
the registration-required obligation provisions of Section 163(f) of the Internal Revenue Code of 1986, as
amended, and accompanying regulations. ;

If default be made in the payment of any installment under this Note or if the Maker violates any of
the terms or breaches any of the conditions of the Master Credit Agreement or any other Credit Document, and
such default or breach shall remain unpaid or uncured for a period of thirty (30) days, the entire principal sum
and accrued interest shall become due and payable without notice at the option of the Holder unless conflicting
provisions with respect to notice appear in the Master Credit Agreement, in which case the provisions of the
Master Credit Agreement shall control. Failure to exercise this option shall not constitute a waiver of the right
to exercise the same at any other time. From and after default and until paid, the principal of this Note and any
part thereof, and accrued and unpaid interest, if any, shall bear interest at the highest legal rate permissible
under applicable law (the "Default Rate"). Without limiting the scope or generality of any other obligations
of Maker set forth in the Master Credit Agreement with respect to attorneys’ fees, all parties liable for the
payment of this Note agree to pay the Holder hereof reasonable attorneys’ fees and paralegal fees for the
services and expenses of counsel employed after maturity or default to collect this Note (including any
bankruptcy proceedings or appeals relating to such enforcement proceedings), or to protect or enforce its rights
in any collateral securing this Note, whether or not suit be brought.

The remedies of Holder as provided herein, in the Master Credit Agreement and in the other Loan
Documents shall be cumulative and concurrent, and may be pursued singly, successively or together, at the sole
discretion of Holder, and may be exercised as often as occasion therefor shall arise.

Maker and all sureties, endorsers and guarantors of this Note hereby: (a) waive demand, presentment
for payment, notice of nonpayment, protest, notice of protest and all other notice, filing of suit and diligence
in collecting this Note, in enforcing any of the security rights or in proceeding against any collateral securing
this Note; (b) agree that this Note may be enforced by Holder against Maker without the necessity at any time
of resorting to or exhausting any of the collateral for the Note; (c) waive the right to require the Holder to
proceed against any of the collateral, or to require the Holder to pursue any other remedy or enforce any right;
and (d) agree that, notwithstanding the occurrence of any of the foregoing (except the express written release
by Holder of any such person), Maker shall be and remain directly and primarily liable for all sums due under
this Note. .

Upon the occurrence of a default under the terms of this Note or any of the Loan Documents, the
Holder is hereby authorized at any time or from time to time without notice to the Maker or to any other person,
any such notice being hereby expressly waived, to immediately set off and appropriate and apply any and all
deposits (general or special) and any other indebtedness at any time held or owing by the Holder to or for the

 

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credit or the account of the Maker against and on account of the obligations and liabilities of the Maker
hereunder. °

This Note shall be governed by, and construed and enforced according to, the laws of the State of
Florida, without giving effect to conflicts of laws principles, except where specifically preempted by Federal
jaw. Any action brought against the Maker, or any guarantor or indemnitor of the indebtedness or obligations
arising under this Note, shall be brought in the State or Federal Courts of Miami-Dade County, Florida and

. Maker and Holder hereby submit to jurisdiction in such location.

Notwithstanding anything herein to the contrary, the Holder does not intend to violate any applicable
usury laws. Accordingly, all agreements between Maker and Holder are expressly limited so that in no
contingency or event whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
maturity of the unpaid principal balance hereof, or otherwise, shall the amount paid or agreed to be paid to the
Holder for the use, forbearance or detention of the money to be advanced hereunder (including all interest on
this Note, all loan fees, and the aggregate of all other amounts taken, reserved or charged pursuant to this Note,
the Master Credit Agreement or any Loan Documents, which, under applicable laws is or may be deemed to
be interest) exceed the maximum rate allowed by applicable law. If, from any circumstances whatsoever, at
the time performance of such obligation shall be due, shall cause the effective rate of interest upon the sums
evidenced hereby to exceed the maximum rate of interest allowed by applicable law, then, the obligation to be
fulfilled shall be reduced automatically to the extent necessary to prevent that effective rate of interest from
exceeding the maximum rate allowable under applicable law and to the extent that the Holder shall receive any
sum which would constitute excessive interest, such sum shall be applied to the reduction of the unpaid
principal balance due hereunder and not to the payment of interest or, if such excessive interest exceeds the
unpaid balance of principal, the excess shall be refunded to the Maker. This provision shall control every other
provision of all agreements between the Maker and the Holder.

THE PARTIES HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY
WAIVE ANY RIGHT EITHER MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY
LITIGATION ARISING OUT OF, UNDER OR IN CONNECTION WITH THE LOAN
EVIDENCED BY THIS NOTE, AND ANY INCREASES, AMENDMENTS, EXTENSIONS,
MODIFICATIONS OR RENEWALS THEREOF, AND ANY AGREEMENT CONTEMPLATED TO
BE EXECUTED IN CONJUNCTION THERE WITH, OR ANY COURSE OF CONDUCT, COURSE
OF DEALING, STATEMENTS (WHETHER VERBAL OR WRITTEN) OR ACTIONS OF EITHER
PARTY. THIS PROVISION IS A MATERIAL INDUCEMENT FOR HOLDER EXTENDING THIS
LOAN, AND ANY INCREASES, AMENDMENTS, EXTENSIONS, MODIFICATIONS OR
RENEWALS THERETO.

. IN WITNESS WHEREOF, Maker has executed this Note as of the date first herein above written.

WITNESSES: MAKER:
E.S. BANKEST LLC, a Florida corporation
By:

Print Name:
Title:

 

 

 

 

 

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EXHIBIT “B-2"

 

Any United States person who holds this obligation may be subject to
limitations onder United States income tax laws, including the
limitations provided in Sections 165(j) and 1287(a) of the Internal
Revenue Code of 1986, as amended.

 

 

 

THIS PROMISSORY NOTE HAS NOT BEEN AND WILL NOT BE REGISTERED UNDER THE UNITED

, STATES SECURITIES ACT OF 1933, AS AMENDED, UNDER THE SECURITIES LAWS OF ANY STATE
OF THE UNITED STATES, NOR UNDER THE SECURITIES LAWS.OF ANY OTHER JURISDICTION.
THE PROMISSORY NOTE HAS NOT BEEN AND IS NOT BEING OFFERED FOR SALE IN THE UNITED
STATES(OR ANY OF ITS TERRITORIES, POSSESSIONS OR AREAS SUBJECT TO ITS JURISDICTION),
OR TO ANY PERSON WHO IS A U.S. PERSON (AS SUCH TERM IS DEFINED IN REGULATION S
UNDER THE SECURITIES ACT OF 1933, AS AMENDED). THIS NOTE IS SUBJECT TO SUBSTANTIAL
RESTRICTIONS ON RESALE.

SERIES B
PROMISSORY NOTE

NOTE NO.

The capitalized and defined terms used in this Promissory Note shall have the following meanings:

 

 

 

HOLDER: : whose mailing address is c/o

MAKER: E.S. BANKEST, LLC, a Florida corporation with its principal business address at 999
Brickell Avenue, Miami, Florida 33131

DATE:

PRINCIPAL AMOUNT: 6 a

DUE DATE:

PLACE OF EXECUTION:

 

GOVERNING LAW: The laws of the State of Florida with regard to its conflicts of law principles shall
govern all matters hereunder. ,

LOAN AND SECURITY DOCUMENTS: Master Credit Agreement and Security Agreement dated as
of April __, 1998.

SECURITY: The property described in and conveyed or encumbered by the Security Documents.

 

 

 

FOR VALUE RECEIVED, Maker hereby promises to pay to the order of Holder, in lawful money
of the United States of America at the office of the Holder, or at such other place outside the United States as
Holder may designate in writing, the Principal Amount, or so much of the Principal Amount as shall be

advanced by Holder to Maker with interest thereon, at the rate percent (__%), per annum.
. Interest shall be calculated daily and on the basis of a 360-day year.

 

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Accrued interest shall be paid one hundred and eighty five (185) days after the date of issuance and
additional accrued interest and all outstanding principal shall be paid in a single lump sum on the
Maturity Date.

This Note may be repaid at any time without penalty.

This Note is made pursuant to that certain Master Credit Agreement between E.S. BANKEST LLC,
as Borrower, BANK ESPIRITO SANTO INTERNATIONAL, LTD., as Collateral Agent and the Lenders (as
defined therein) and the obligations of the Holder and Maker hereunder shall be subject to all the terms and
conditions of the Loan and Security Documents.

Notwithstanding anything herein to the contrary, this Note is intended to qualify under the provisions
of Sections 871 and 881 of the United States Internal Revenue Code of 1986, as amended, relating to the
Repeal of Interest on Portfolio Debt Obligations of Certain Foreign Persons and, in accordance therewith, this
Note may only be transferred by Holder in accordance with the provisions of the Master Credit Agreement and
_ the registration-required obligation provisions of Section 163(f) of the Internal Revenue Code of 1986, as
amended, and accompanying regulations. ,

_ If default be made in the payment of any installment under this Note or if the Maker violates any of
the terms or breaches any of the conditions of the Master Credit Agreement or any other Credit Document, and
such default or breach shall remain unpaid or uncured for a period of thirty (30) days, the entire principal sum
and accrued interest shall become due and payable without notice at the option of the Holder unless conflicting
provisions with respect to notice appear in the Master Credit Agreement, in which case the provisions of the
Master Credit Agreement shall control. Failure to exercise this option shall not constitute a waiver of the right
to exercise the same at any other time. From and after default and until paid, the principal of this Note and any
part thereof, and accrued and unpaid interest, if any, shall bear interest at the highest legal rate permissible
under applicable law (the "Default Rate"). Without limiting the scope or generality of any other obligations
of Maker set forth in the Master Credit Agreement with respect to attorneys’ fees, all parties liable for the
payment of this Note agree to pay the Holder hereof reasonable attorneys’ fees and paralegal fees for the
services and expenses of counsel employed after maturity or default to collect this Note (including any
bankruptcy proceedings or appeals relating to such enforcement proceedings), or to protect or enforce its rights
in any collateral securing this Note, whether or not suit be brought.

The remedies of Holder as provided herein, in the Master Credit Agreement and in the other Loan
Documents shall be cumulative and concurrent, and may be pursued singly, successively or together, at the sole
discretion of Holder, and may be exercised as often as occasion therefor shall arise.

Maker and all sureties, endorsers and guarantors of this Note hereby: (a) waive demand, presentment
for payment, notice of nonpayment, protest, notice of protest and all other notice, filing of suit and diligence
in collecting this Note, in enforcing any of the security rights or in proceeding against any collateral securing
_ this Note; (b) agree that this Note may be enforced by Holder against Maker without the necessity at any time
of resorting to or exhausting any of the collateral for the Note; (c) waive the right to require the Holder to
proceed against any of the collateral, or to require the Holder to pursue any other remedy or enforce any right;
and (d) agree that, notwithstanding the occurrence of any of the foregoing (except the express written release
by Holder of any such person), Maker shall be and remain directly and primarily liable for all sums due under
this Note.

Upon the occurrence of a default under the terms of this Note or any of the Loan Documents, the
Holder is hereby authorized at any time or from time to time without notice to the Maker or to any other person,
any such notice being hereby expressly waived, to immediately set off and appropriate and apply any and all
deposits (general or special) and any other indebtedness at any time held or owing by the Holder to or for the
credit or the account of the Maker against and on account of the obligations and liabilities of the Maker
hereunder.

 

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This Note shall be governed by, and construed and enforced according to, the laws of the State of
Florida, without giving effect to conflicts of laws principles, except where specifically preempted by Federal
law. Any action brought against the Maker, or any guarantor or indemnitor of the indebtedness or obligations
arising under this Note, shall be brought in the State or Federal Courts of Miami-Dade County, Florida and
Maker and Holder hereby submit to jurisdiction in such location.

. Notwithstanding anything herein to the contrary, the Holder does not intend to violate any applicable

usury laws. Accordingly, all agreements between Maker and Holder are expressly limited so that in no
contingency or event whatsoever, whether by reason of advancement of the proceeds hereof, acceleration of
maturity of the unpaid principal balance hereof, or otherwise, shall the amount paid or agreed to be paid to the
Holder for the use, forbearance or detention of the money to be advanced hereunder (including all interest on
this Note, all-loan fees, and the aggregate of all other amounts taken, reserved or charged pursuant to this Note,
the Master Credit Agreement or any Loan Documents, which, under applicable laws is or may be deemed to
be interest) exceed the maximum rate allowed by applicable law. If, from any circumstances whatsoever, at
the time performance of such obligation shall be due, shall cause the effective rate of interest upon the sums
evidenced hereby to exceed the maximum rate of interest allowed by applicable law, then, the obligation to be
fulfilled shall be reduced automatically to the extent necessary to prevent that effective rate of interest from
exceeding the maximum rate allowable under applicable law and to the extent that the Holder shall receive any
sum which would constitute excessive interest, such sum shall be applied to the reduction of the unpaid
principal balance due hereunder and not to the payment of interest or, if such excessive interest exceeds the
unpaid balance of principal, the excess shall be refunded to the Maker. This provision shall control every other
provision of all agreements between the Maker and the Holder.

THE PARTIES HEREBY KNOWINGLY, VOLUNTARILY AND INTENTIONALLY
WAIVE ANY RIGHT EITHER MAY HAVE TO A TRIAL BY JURY IN RESPECT OF ANY
LITIGATION ARISING OUT OF, UNDER OR EN CONNECTION WITH THE LOAN
EVIDENCED BY THIS NOTE, AND ANY INCREASES, AMENDMENTS, EXTENSIONS,
MODIFICATIONS OR RENEWALS THEREOF, AND ANY AGREEMENT CONTEMPLATED TO
BE EXECUTED IN CONJUNCTION THEREWITH, OR ANY COURSE OF CONDUCT, COURSE
OF DEALING, STATEMENTS (WHETHER VERBAL OR WRITTEN) OR ACTIONS OF EITHER
PARTY. THIS PROVISION IS A MATERIAL INDUCEMENT FOR HOLDER EXTENDING THIS
LOAN, AND ANY INCREASES, AMENDMENTS, EXTENSIONS, MODIFICATIONS OR
RENEWALS THERETO.

’ IN WITNESS WHEREOF, Maker has executed this Note as of the date first herein above written.

WITNESSES; MAKER:
_ ES. BANKEST LLC, a Florida corporation
By:

Print Name:
Title:

 

 

 

 

 

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IBIT IV.

MASTER CREDIT AGREEMENT

Exhibits C

C-I]
Request for Roll-Over/Maturity Extension
_ of .
Promissory Note (185-Day)

C-2-
Request for Roll-Over/Maturity Extension
a of
Promissory Note (365-Day)

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EXHIBIT "C-1"

REQUEST FOR ROLL-OVER/MATURITY EXTENSION
OF .
PROMISSORY NOTE

(185-DAY PROMISSORY NOTE)

The undersigned Noteholder is the registered holder of a 185-Day Promissory Note (the "Note”)
issued by E.S. Bankest LLC (the "Company”) and secured by the Master Security Agreement and
Collateral Agent Agreement through Bank Espirito Santo International, Ltd. (the "Collateral Agent"). The
Note issue date, maturity date, and face value are as follows:

ISSUE DATE:
ORIGINAL MATURITY DATE:
FACE VALUE:

 

Pursuant to the terms of the Master Credit Agreement (as defined in the Note), the undersigned
Noteholder elects and requests to extend the Original Maturity Date of the Note. By signing this Request,
Vwe understand and agree to the following terms and conditions:

1. If accepted by the Company, and certified by the Collateral Agent, the Note shall be
- renewed for the Roll-Over/Maturity Extension Term (the "Extension Term"), which shall
be equal to 185 days. The Extension Term shal] commence on the Original Maturity Date.

2. During the Extension Term, the Note shall bear interest at the rate equal to LIBOR plus
1.5% as determined on the Original Maturity Date (the then rate for other 185-Day
Promissory Notes issued on such date).

Y/we further warrant and represent to the Company and the Collateral Agent that the information
contained in the original Subscription Agreement executed by me/us, including in particular such
information as relates to my/our status as an "accredited investor,” continues to be correct, complete and
accurate as of this date and the Company has provided me/us with access to all relevant information and
documents desired or requested.

I/we understand that the Company shall not be obligated to accept this Request and that any
Request must be tendered to the Company at least 90 days prior to the Original Maturity Date. Failure to
provide this Request within 90 days of the Original Maturity Date shall be considered by the Company to
be a waiver of this right. In the event that the Company elects not to accept this Request, I/we understand
that the Note will mature on the Original Maturity Date in accordance with the Master Credit Agreement.

Noteholder:

 

Print Name:

 

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EXHIBIT "C-2"

REQUEST FOR ROLL-OVER/MATURITY EXTENSION
OF
PROMISSORY N OTE

(365-DAY PROMISSORY NOTE)

The undersigned Noteholder is the registered holder of a 365-Day Promissory Note (the "Note")
issued by E.S. Bankest LLC (the "Company") and secured by the Security Agreement and Collateral Agent
Agreement through Bank Espirito Santo International, Ltd. (the "Collateral Agent"). The Note issue date,
maturity date and face value are as follows:

ISSUE DATE:
ORIGINAL MATURITY DATE:
FACE VALUE:

 

 

Pursuant to the terms of the Master Credit Agreement (as defined in the Note), the undersigned
Noteholder elects and requests to extend the Original Maturity Date of the Note. By signing this Request,
T/we understand and agree to the following terms and conditions:

L. If accepted by the Company, and certified by the Collateral Agent, the Note shall be
renewed for the Roll-Over/Maturity Extension Term (the "Extension Term"), which shall
be equal to 365 days. The Extension Term shall commence on the Original Maturity Date.

2. During the Extension Term, the Note shall bear interest at the rate equal to LIBOR plus
1.75% as determined on the Original Maturity Date (the then rate for other 365-Day
Promissory Notes issued on such date).

I/we further warrant and represent to the Company and the Collateral Agent that the information
contained in the original Subscription Agreement executed by me/us, including in particular such
information as relates to my/our status as an “accredited investor," continues to be correct, complete and
accurate as of this date and the Company has provided me/us with access to all relevant information and
documents desired or requested.

I/we understand that the Company shall not be obligated to accept this Request and that any
Request must be tendered to the Company at least 90 days prior to the Original Maturity Date. Failure to
provide this Request within 90 days of the Original Maturity Date shall be considered by the Company to
be a waiver of this right. In the event that the Company elects not to accept this Request, I/we understand
that the Note will mature on the Original Maturity Date in accordance with the Master Credit Agreement.

Noteholder:

 

Print Name:

 

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HIBIT IV.

MASTER CREDIT AGREEMENT

Exhibit D

Master Security Agreement

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EXHIBIT. "pH"

MASTER SECURITY AGREEMENT
AND
APPOINTMENT OF COLLATERAL AGENT AGREEMENT

THIS MASTER SECURITY AGREEMENT AND APPOINTMENT OF
COLLATERAL AGENT AGREEMENT dated as of April __, 1998, by and among E.S.
BANKEST CORP., a Florida corporation with its principal business address at 1395 Brickell
Avenue, Suite 700, Miami, Florida, USA 33131 ("Debtor"), BANK ESPIRITO SANTO
INTERNATIONAL, LTD., a Cayman Islands corporation, (hereinafter sometimes referred to
either as the "Collateral Agent,” “Secured Party,” or "Collateral Agent as Secured Party") and each
of the Lenders to Debtor pursuant to that certain Master Credit Agreement dated of even date

herewith.

RECITALS
A. Debtor is engaged in the operation of a non-regulated traditional factoring business,

B. In order 10 finance Debtor’s factoring business, Debtor desires to issue certain
Promissory Notes (as more particularly defined in the Master Credit Agreement) to certain investors
which shall become the lenders ("Lenders") of the Loan to Debtor under the Master Credit
Agreement, which loans are intended to be secured by the Collateral as hereinafter set forth;

C. In order to secure the Promissory Notes and thus create a valid and subsisting security,
interest in the accounts receivable and other assets acquired by Debtor pursuant to its factoring
business, and as a condition of the Master Credit Agreement, Debtor by this instrument intends and
hereby grants the security interest in favor of the Collateral Agent as Secured Party on behalf of the

_Lenders pursuant to the terms and conditions herein contained.

NOW, THEREFORE, in consideration of the mutual promises and other covenants herein
contained, and for $1.00 and other good and valuable consideration, the receipt and sufficiency of
which is hereby acknowledged, the parties agree as follows:

Section L. Defined Terms. Capitalized Terms shall have the same meaning as used in the
Master Credit Agreement except as otherwise defined herein.

Section 2. Grant of Security Interest. Debtor hereby pledges and assigns to Collateral Agent
as Secured Party acting on behalf of itself and the Lenders, and hereby grants Collateral Agent as

Secured Party a Uniform Commercial Code security interest in all of Debtor's right, title and interest

 

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in and to the following, whether now owned or hereafter acquired, whether now or hereafter existing
and wherever located (the "Collateral"):

(a) a pledge and security interest in all of Debtor’s rights to the payment
of money however evidenced or arising, including each existing and future account, contract
right, general intangible, instrament and document, within the meaning of the Florida
Uniform Commercial Code (the "Code"), and in all trademarks, copyrights, good will,
names, patents, licenses, inventions, causes of action and goods giving rise to Debtor’s right
to the payment of money, including such goods in which Debtor has retained a security
interest or which have been reclaimed, returned or repossessed, all documents of title and
warehouse receipts, and all book entries, records and files relating to the foregoing, and the
proceeds (cash and non-cash) of all the foregoing and any insurance policies relating thereto,

(b) a pledge and security interest in all deposit accounts, credits,

- secutities, moneys, or other property of Debtor which may at any time be in the possession

of, delivered to, or owed by the Secured Party, including any proceeds or return or unearned
premiums of insurance, and the proceeds of all the foregoing property; and

(c) a pledge and security interest in all short-term interest bearing
securities, certificates of deposits and any other investment purchased by Debtor or
established by Debtor with proceeds of the Loan.

(a) At all times during which any of the Promissory Notes evidencing the Loan
are outstanding, Debtor has covenanted and agreed under the Master Credit-Agreement to limit the
use of proceeds from the Loan for the payment of the purchase price, including factoring advances,
of certain accounts receivable from clients and has further agreed that all unused proceeds of the
Loan shall be invested in certificates of deposit or other accounts of insured financial institutions,
United States federal treasury bills and notes or other investment grade securities (“Approved
Securities”) which, together with the Collateral defined in Section 2 above, are hereby pledged to
the Secured Party as part of the Collateral.

(b) Debtor agrees to maintain receivables of a face value equal to at Jeast 120%
of the amount of Loan proceeds not invested in Approved Securities.

(c) Debtor will, upon request of the Secured Party, certify that the value of the
Collateral is in accordance with the covenants contained in Section (a) and (b) above (the
"Collateral Value Certification”). Debtor shall provide the Secured Party with such Collateral Value
Certification not less often than quarterly.

 

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Section 4, Secured Obligations.

(1) The foregoing security interests are granted to the Collateral Agent as Secured Party
on behalf of the Lenders as security for the due, prompt, full and complete payment and
performance by Debtor of: (a) all obligations of Debtor under this Agreement and the Master Credit
Agreement, including without limitation the due and punctual payment of all sums due and to -

_ become due under the Promissory Notes, as the same become due and payable, whether at maturity,
by acceleration or otherwise; (b) all costs and expenses, including reasonable attomey's fees,
incurred by the Secured Party in the collection of the same or in the enforcement of any of the rights
of the Secured Party or the Lenders hereunder or under or in connection with the Promissory Notes;
(c) all future advances made by the Secured Party or the Lenders for taxes, levies, insurance and
repairs to, or maintenance or protection of, any of the Collateral; and (d) all other past, present and
future, direct or indirect, absolute or contingent, liabilities of Debtor arising under this Agreement,
the Master Credit Agreement or any other related document (collectively, the "Secured
Obligations”)

(2) All obligations secured hereby shall be secured with the same priority at all times,
notwithstanding that any such obligations may be increased or decreased at any time during the term
hereof: provided the Secured Party in its sole discretion may elect to enforce any remedies
hereunder in any order of priority, partially or fully, as to any particular obligation or collateral,
without otherwise affecting its remaining interests hereunder.

  
 

  

    

er’s Right to 4 dditional Security Interests Ranking Equa
i . Pursuant to the Shareholders Agreement between the Debtor’s
existing shareholders, Espirito Santo Bank of Florida has agreed that so long as it is a shareholder —
of the Debtor, in the event the Debtor can not raise sufficient working capital through the issuance
of Notes under the Master Credit Agreement or other similar borrowings, Espirito Santo Bank shall
provide or cause third parties (which may or may not be affiliates of Espirito Santo Bank) to provide
the Debtor with a line or lines of credit of up to an aggregate maximum amount of Thirty Million
Dollars and 00/100 ($30,000,000.00). Advances under any such line shall be for a maximum of
three hundred sixty (360) days and shall bear interest (i) in the case of the first Five Million Dollars
($5,000,000.00) at the same rates as provided in the Master Credit Agreement for Series A and B
Notes, depending on whether such advances are for 180 days or 360 days and (ii) for amounts in
excess of $5,000,000, at a rate not to exceed the one year LIBOR rate in effect on the date of the
advance plus two percent (2%) per annum. All advances under such lines of credit shall be
evidenced and secured by notes issued by the Debtor under the terms and conditions then generally
offered by the Debtor under the Master Credit Agreement, excepting only as 10 rate of interest which
shall be in the amount aforesaid, and such advances are to be secured by a security interest in the
same assets of the Debtor which constitute the Collateral hereunder. In accordance with the
- foregoing, and as permitted under the Mater Credit Agreement, so long as the Debtor is not in
default under this Agreement or the other Loan Documents, the Collateral Agent is authorized to
permit the Debtor to execute and deliver a security interest to such lenders, which security interest
shall rank pari passu with the liens secured herein by the Collateral.

 

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Section 6, - Effective Date of Security. The mortgages, assignments, pledges, charges and
security interests hereby created or provided to be created shall be effective whether the moneys
thereby secured or any part thereof shall be advanced before or after or at the same time as the issue
of any of the Promissory Notes intended to be secured thereby or before or after or upon the date

of execution of this Agreement.

Section 7, Defeasance. These presents are upon the express condition that if Debtor shall
well and truly pay all moneys payable to the Secured Party and satisfy all obligations secured hereby
then these presents and the rights hereby granted shall cease and become null and void and the
Collateral shall revert to and revest in Debtor, without any release, acquittance, reconveyance,.re-
entry or other act or formality whatsoever.

Section 8, Assignments. Nothing in this Agreement shall be construed as an attempt to
assign (i) any representation, warranty, covenant, agreement, account, claim, demand or cause of
action which, as a matter of law or by its terms, is non-assignable without the consent of some other
person unless such consent shall have been given or (ii) unless and to the extent that any Lenders’
Resolution otherwise requires, any agreement or claim as to which all the remedies for the
enforcement of same that are available to Debtor would not, as a matter of law, be available to the
‘Secured Party upon any realization proceedings hereunder, provided, however, that the foregoing
shal] not apply to any such agreement or claim which would be available to the Secured Party,
except as otherwise provided in this Section 7. In order, however, that the full value of the items
described in clauses (i) and (ii) above may constitute security hereunder and may be realized for the

. benefit of the Secured Party, Debtor shall at its expense and at the request of the Secured Party or

pursuant to any Lenders’ Resolution to that effect, in the name of Debtor or otherwise as the Secured
Party or Lenders’ Resolution may specify, and whether as Secured Party or agent of the Secured
Party or otherwise, execute and deliver any necessary financing statements and take all such action
and do or cause to be done all such things as shall, in the reasonable opinion of the Secured Party
or as specified in such Lenders’ Resolution, be necessary or proper in order that the items described
in clauses (i) and (ii) above shall inure to the benefit of and be enforceable in favor of the Secured
Party and the Lenders.

Section 9, Attachment. Debtor and the Secured Party agree that it is their intention that the
security interests hereby created shall attach immediately to the Collateral in which Debtor has any _
interest on the date hereof, and, with respect to any after-acquired property, forthwith at the time
Debtor shall acquire an interest therein.

Section 10, Release of Collateral. The Secured Party shall, upon receipt of a Lenders’
Resolution to such effect, release any part of the Collateral from the lien hereof or concur in Debtor

dealing in any part of such Collateral, in the manner specified in such Lenders’ Resolution.

 

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Section 11, Releases by Secured Party. Subject to Sections 6 and 9, the Secured Party shall

not release any part of the Collateral from the lien hereof at any time, whether or not an Event of
Default shall have occurred and be continuing.

(a) | Any moneys received by the Secured Party in respect of the Collateral and
all other moneys at any time held by or on behalf of the Secured Party pursuant to any other
provisions hereof or of any other instruments or agreements in connection with the Collateral, the
disposition of which is not otherwise provided for herein, shall be held by the Secured Party as part
of the Collateral and applied by the Secured Party as directed by a Lenders' Resolution. Pending
such application, such moneys shall be held and dealt with by the Secured Party in accordance with
Section 32.

(b) = Inno case shall the receipt of moneys by the Secured Party from releases or
other dealings with any Collateral be deemed to be a payment hereunder nor shall the lien hereof
be affected by reason of such receipt except as herein expressly provided.

Section 13, Protection of Purchasers. It is hereby declared and agreed that no purchaser or
purchasers from, or other person having dealings with, Debtor or the Secured Party or their
respective permitted successors or assigns shall be obliged to inquire into the necessity, expediency,
authority or regularity of or for any action or concurrence on the part of the Secured Party or any
release or other instrument taken or given under the provisions of this Section nor be obliged to
inquire into the sufficiency of the performance by Debtor of any of the conditions upon which it is
or may be entitled to any such action or concurrence or release or other instrument.

Section 14. Proceeds Held in Trust. Subject to the provision of Section 6, all proceeds of
any disposition or transfer of the Collateral received or obtained by Debtor at any time shall be held

in trust by Debtor for the benefit of the Lenders and forthwith delivered to the Secured Party.

Section 15. Representations and Warranties. Debtor represents and warrants to Secured
Party as set forth below.

(a) Debtor is the legal and beneficial owner of the Collateral, free and clear of
any lien, security interest, charge or encumbrance other than the security interest created by this
Agreement. No effective financing statement or other instrument similar in effect covering all or
any part of the Collateral is on file in any recording office, except such as may have been filed in
favor of Secured Party relating to this Agreement.

(b} Debtor has the exclusive right and claim to the Collateral.

 

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(c) Debtor does not have any bank accounts or other deposit accounts other than
in the bank accounts, as described in Exhibit "A” attached hereto (the "Bank Accounts") and a
payroll account. Debtor does not have any deposit accounts into which deposits by third parties are
made or amounts received from third parties are deposited other than the Bank Accounts. Debtor
has instructed all account debtors and obligors to make payments directly into the Bank Accounts.

(d) This Agreement, together with (i) appropriate UCC-1 filings in the states
identified in Exhibit "B" attached hereto and (ii) an appropriate letter agreement with the bank at
which the Bank Accounts are maintained, creates a valid and perfected first-priority security interest

‘in the Collateral, securing the payment of the Secured Obligations, and all filings and other actions

necessary or desirable to perfect and protect such security interest have been duly taken or made.

(e) — No authorization, approval or other action by, or notice to or filing with, any
governmental authority or regulatory body (other than appropriate UCC-1 filings) is required (i) for

“the grant by Debtor of the security interest granted hereby or for the execution, delivery or

performance of this Agreement by Debtor or (ii) for the perfection of or the exercise by Secured
Party of its nights and remedies hereunder.

(f) | The execution, delivery and performance by Debtor of this Agreement are

” within Debtor's corporate powers, have been duly authorized by all necessary corporate action and

do not contravene (i) Debtor's articles of incorporation or bylaws or (ii) any applicable law or

_, contractual restriction binding on or affecting Debtor. This Agreement has been duly executed and

delivered by Debtor and is the legal, valid and binding obligation of Debtor, enforceable against
Debtor in accordance with its terms, except as the enforceability hereof may be limited by
bankruptcy, insolvency, moratorium, reorganization or other similar laws affecting creditors, nights
generally.

Section 16, Further Assurances.

(a) _—‘ Debtor agrees that at any time and from time to time, at its own expense, it

will promptly execute and deliver all further instruments and documents, and take all further action,

that may be necessary or desirable, or that Secured Party may request, in order to perfect and protect
the security interest granted or purported to be granted hereby or to enable Secured Party to exercise
and enforce its rights and remedies hereunder with respect to any Collateral.

(b) Debtor hereby authorizes Secured Party to file one or more financing or
continuation statements, and amendments thereto, relating to all] or any part of the Collateral without
the signature of Debtor where permitted by law. A photographic or other reproduction of this
Agreement or any financing statement covering the Collateral or any part thereof shall be sufficient
as a financing statement where permitted by law.

 

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(c) Debtor will furnish to Secured Party from time to time such statements and
schedules further identifying and describing the Collateral, and such other reports in connection with
the Collateral, as Secured Party may reasonably request.

Section 17. Conditions Precedent to Collateral Agent's Obligation to Act.

(a) The obligation of the Collateral Agent to commence or continue any act,
action or proceeding for the purpose of enforcing any rights of the Collateral Agent as Secured Party
on behalf of any of the Lenders hereunder shall be conditional upon the Lenders or, if less than all
the Lenders request that the Collateral Agent as Secured Party proceed to realize upon the lien
hereof and to enforce its rights as contemplated by Sections 27 and 45, then, upon such requesting
Lender or Lenders furnishing, when required by notice in writing by the Collateral Agent, sufficient
funds to commence or continue such act, action or proceeding and an indemnity reasonably satis-
factory to the Collateral Agent to protect and hold harmless the Collateral Agent against the costs,
charges and expenses and liabilities to be incurred thereby and any loss and damage it may suffer
by reason thereof. Without limiting the generality of the foregoing, such requesting Lender or
Lenders shail ensure that the Collateral Agent is furnished with sufficient funds:

(i) to pay all amounts it is required to pay pursuant to Section 27;

(ii) | to pay amounts necessary to discharge all liens, if any, on the
Collateral ranking (or capable of ranking) in priority to the lien hereof or to keep any such prior lien
in good standing; and

(iii) to pay all costs and expenses incurred in connection with the
repossession, holding, processing, preparing for disposition and remarketing of the Collateral.

(b) None of the provisions contained in this Agreement shall require the
Collateral Agent as Secured Party to expend or risk its own funds or otherwise incur financial
liability in the performance of any of its duties or in the exercise of any of its ri ghts or powers unless
indemnified as aforesaid.

(c) The Collateral Agent as Secured Party may, before commencing, or at any
time during the continuance of, any such act, action or proceeding, require the Lenders at whose
instance it is acting to deposit with the Collateral Agent the Promissory Notes held by it, for which
Promissory Notes the Collateral Agent shall issue receipts. ,

Section 18. Evidence.

(a) | Whenever it is provided in this Agreement with reference to any application
to the Collateral Agent as Secured Party, for the certification and delivery of Promissory Notes, the
release of property, the withdrawal of money or other action hereunder or thereunder, that Debtor
shall deposit with the Collateral Agent resolutions, certificates or other documents, it is intended

 

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that the truth, accuracy and good faith at the time of granting of such application (or on the effective
date of any such certificate or document, as the case may be) of the acts and opinions stated in all
documents so deposited shall, in each and every such case, be conditions precedent to the right of
Debtor to have such application granted.

(b) The Collateral Agent as Secured Party may rely and shall be protected in

_ acting upon any resolution, certificate or other document believed by it to be genuine and to have

been signed, sent or presented by or on behalf of the proper party or parties. However the Collateral
Agent may in its discretion require reasonable evidence of the due execution thereof before acting
or relying thereon.

Section 19. Experts and Advisors. The Secured Party may act and shall be protected in

acting in good faith on the opinion or advice of or information obtained from any counsel,
accountant or other expert or advisor, whether retained or employed by Debtor or the Secured Party,

. in relation to any matters arising in the performance of the Secured Party's duties as Collateral

Agent.
Section 20. Documents, Cash, Ete. Held by the Secured Party.

(a) Pending the application or withdrawal thereof under any of the provisions of
this Agreement, all moneys that may at any time be deposited with or held by the Collateral Agent
as Secured Party in accordance with the provisions hereof shall be held in an account maintained
by the Collateral Agent or invested by the Collateral Agent (and reinvested) in Approved Securities
in the same currency as the moneys so deposited and held by the Collateral Agent for the exclusive
benefit of the Lenders, provided that if the Collateral shall revert to Debtor in accordance with
Section 6, any amounts to be discharged or any residual amounts shall be paid to Debtor, and the
Collateral Agent may deposit the same or any part thereof in the name of the Collateral Agent in the
deposit vaults of the Collateral Agent or of any Eligible Institution or for safekeeping with any
Eligible Institution.

(b) For the purposes of immediately applying the proceeds of any Approved
Securities pursuant to any provision hereof the Collateral Agent as Secured Party may sell such
Approved Securities from time to time in its discretion at the best prices in the Collateral Agent's
opinion obtainable. Unless a Default or an Event of Default (as defined in Article V of the Master
Credit Agreement) shall have occurred and be continuing, all interest or other income received by
the Collateral Agent as Secured Party in respect of such investments and any profits realized by the
Collateral Agent as Secured Party upon any such sale thereof shall belong to Debtor.

Section 21. Action by Secured Party to Protect Security, After the occurrence of an Event
of Default and so long as it is continuing, the Secured Party shall have power to institute and
maintain such action and proceedings as it may consider necessary or expedient to prevent any
impairment of the lien hereof by any acts of Debtor or of other persons or to preserve or protect its

 

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interests and the security and interests of the Lenders in respect of the Collateral or in respect of the
income, earings, rents, issues and profits thereof.

Section 22. Secured Party Not Required to Give Security, The Collateral Agent shall not

be required to give any security in respect of the appointment as Collateral Agent or as Secured
Party under this Agreement or otherwise in respect of the Collateral.

Section 23, Protection of the Lenders. By way of supplement to the provisions of any law
for the time being relating to secured parties, it is expressly declared and agreed that, except as
otherwise provided herein:

(a) __ neither the Collateral Agent as Secured Party nor any Lender shall be liable
for or by reason of any failure or defect of title to, or any lien upon, the Collateral;

(b) neither the Collateral Agent as Secured Party nor any Lender shall be liable
for or by reason of any statements of fact or recitals in this Agreement or in the Promissory Notes
(except in the certificate of the Secured Party thereon) or be required to verify the same, but all such
"statements or recitals are and shall be deemed to be made by Debtor,

(c) nothing herein contained shall cast any obligation on the Secured Party or any
Lender to see to or to require evidence of the registration or filing or renewal of this Agreement or
any other instrument ancillary or supplemental hereto or any other document or writing by way of
mortgage, security interest or charge upon the Collateral or any part thereof or upon any other
property of Debtor or to procure any further, other or additional instrument or to do any other act
for the continuance of the lien hereof or for giving notice of the existence of such liens or for
extending or supplementing the same;

(d) _ neither the Secured Party nor any Lender shall be bound to give notice to any
person or persons of the execution hereof or of the lien hereof or in any way to interfere with the
conduct of the business of Debtor unless and until the lien hereof shall have become enforceable
and the Secured Party shall have become bound to enforce the same;

_ (e) the Secured Party and each Lender on their own behalf or in any other
capacity, may buy, lend upon and deal in shares in the capital stock of and other securities of Debtor
and in the Promissory Notes and generally may contract and enter into financial transactions with
Debtor or any affiliate of Debtor without being liable to account for any profit made thereby.

Section 24. Replacement of the Secured Party. The Secured Party may resign as collateral
agent and be discharged from all further duties and liabilities hereunder by giving to Debtor and the
Lenders two months prior notice in writing or such shorter notice as Debtor and the Lenders may
accept as sufficient. The Lenders shall have power at any time to remove the Collateral Agent as
Secured Party from its position and to appoint a new collateral agent to act as secured party, the
costs of which removal and appointment shall be at Debtor's expense. In the event of the Secured

 

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Party resigning or being removed as set forth above or being dissolved, becoming bankrupt, going
into liquidation or otherwise becoming incapable of acting hereunder, Debtor shall forthwith appoint
a new collateral agent to act as secured party unless a new collateral agent has already been
appointed by the Lenders; failing such appointment by Debtor, the retiring Collateral Agent or any
Lender may apply to a court of competent jurisdiction for the appointment of a new collateral agent
to act as secured party; but any new collateral agent so appointed by Debtor or by the Court shall
be subject to removal as aforesaid by the Lenders. Any new collateral agent appointed under any
provision of this section shall be a corporation authorized and qualified to carry on business in its
jurisdiction of organization and in every other jurisdiction where such authorization or qualification
is necessary to enable it to act as secured party and collateral agent hereunder. On any new
appointment the new secured party and collateral agent shall, to the extent permitted by law, be
vested with the same powers, rights, duties and responsibilities as if it had been originally named
herein as secured party and collateral agent, without any further assurance, conveyance, act or
authorization; but there shall be immediately executed, at the expense of Debtor, all such
conveyances or other instruments as may, in the opinion of counsel, be necessary or advisable for
the purpose of assuring to the new secured party a perfected security interest in the Collateral. Any
corporation into which the Secured Party may be merged or with which it may be consolidated or
amalgamated, or any corporation resulting from any merger, consolidation or amalgamation to
which the Secured Party shall be a party, shall be the successor Secured Party under this Agreement
without the execution of any instrument or any further act. Except as otherwise provided herein,
the costs of resignation and appointment of Secured Parties hereunder shall be at the expense of
Debtor.

- Section 25. Acceptance of Duties as Collateral Agent. The Secured Party hereby accepts
the duties of Collateral Agent as set forth in this Agreement and agrees to perform the same upon
the terms and conditions set forth herein and to hold the Collateral and the fixed and specific
mortgages, assignments, pledges, charges and security interests and all the rights, privileges and
benefits conferred hereby and by law as Collateral Agent, for the various persons who shall from
time to time be Lenders, each of whom shall be owed the relevant legal duties as principals of such
Collateral Agent, subject to all the terms and conditions set forth herein.

Section 26. Legislation Relating to Agreements. The provisions of these Sections 16

through 25 are subject to the provisions of any legislation applicable from time to time relating to
Agreements and to the rights, duties and obligations of Secured Parties acting as agents responsible
for the safekeeping of property and of corporations serving as agents to certain principals.

Section 27. General Liability of Secured Party as Collateral Agent. Notwithstanding

anything herein to the contrary, Secured Party shall not be liable for any action taken or failure to
act in the performance of its duties as Secured Party hereunder unless such action or failure of action
shall have resulted from Secured Party's gross negligence or willful fraud.

 

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Section 28, Duties and Rights of Collateral Agent.

(a) Notice to Lenders. Upon the Collateral Agent becoming aware of the
occurrence of any material Event of Default arising under this Agreement or the Master Credit
Agreement, it shall give notice to the Lenders and each Holder of a Promissory Note of the
occurrence of the Event of Default unless the Collateral Agent in good faith determines and
reasonably believes that the withholding of such notice is in the best interest of the Lenders and
Holders of Promissory Notes and so advises Debtor in writing. Where notice of the occurrence of
the Event of Default has been given to Lenders and Holders of Promissory Notes and the Event of
Default is thereafter remedied or cured, notice that the Event of Default is no longer continuing shall
be given by the Collateral Agent to the Lenders and Holders of Promissory Notes within a
reasonable time, but not exceeding 30 calendar days, after the Collateral Agent becomes aware that
the Event of Default has been cured.

(b) Enforcement by the Collateral Agent as Secured Party. Whenever the lien
hereof shall have become and so long as it remains enforceable and the Collateral Agent has
declared the Promissory Notes to be accelerated, the Collateral Agent as Secured Party may, and,
upon the receipt of a Lenders’ Resolution requesting it to do so shall, proceed to realize upon the lien
hereof and to enforce its rights hereunder by any or all of: (a) proceedings in any court of competent
" . jurisdiction for the appointment of a receiver or for sale or other disposition of the Collateral or any
part thereof; (b) generally any other action, suit, remedy or proceeding authorized or permitted by
the Master Credit Agreement, the provisions of this Agreement, including, but not limited to, such
remedies set forth in Section 45, or by law or by equity; or (c) any and all remedies allowed secured
parties under the provisions of the Uniform Commercial Code of Florida, as amended, provided that
in the event of any such acceleration or realization, Debtor shall have the right to pay to the Secured
Party all amounts then owing by Debtor hereunder and under the Promissory Notes, and shall be
entitled to the release and reconveyance of the Collateral in accordance with Section 6. Whenever
the lien hereof shall have become and so long as it remains enforceable and the Collateral Agent has
declared the Promissory Notes to be accelerated, the Collateral Agent as Secured Party may file such
proofs of claim and other papers or documents as may be necessary or advisable in order to have
the claims of the Lenders and Holders of Promissory Notes lodged in any bankruptcy, winding-up
or other judicial proceeding relative to Debtor or the Collateral, and none of the aforesaid remedies
for the realization of the lien hereof or for the enforcement of the rights of the Lenders and Holders
of Promissory Notes and the Collateral Agent as Secured Party shall be exclusive of or dependent
on any other such remedy but any one or more of such remedies may from time to time be exercised
independently or in combination. Further, no taking of any judgment or order in respect of any of
the covenants contained in this Agreement shall operate as a merger of any of the said covenants
or operate to prevent any further judgment or order in respect thereof or any further remedy for the
enforcement of the lien hereof.

 

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(c) Waiver of Default.

(i) In ease the lien hereof shall have become enforceable, and the
_ Collateral Agent as Secured Party shall have determined to realize upon the lien hereof and to
enforce its rights hereunder, whether or not it shall have received a Lenders’ Resolution in
accordance with Section 41, the Lenders and Holders of Promissory Notes shall have the power
exercisable by Lenders’ Resolution to require the Collateral Agent to waive any default and/or
cancel any declaration made by the Collateral Agent as Secured Party under Section 39 and the
Collateral Agent shal} thereupon waive such default and/or cancel such declaration upon such terms
and conditions as such Lenders and Holders of Promissory Notes shall prescribe. So long as the
Secured Party has not become bound as provided in Section 27 to declare the Promissory Notes
accelerated, or to obtain and enforce payment of the Promissory Notes, the Collatera] Agent shall
have power to waive any default arising hereunder if, in the opinion of the Collateral Agent, the
same shall have been cured or adequate satisfaction made therefor, and in such event cancel any
declaration therefor made by the Collateral Agent pursuant to Section 27 upon such terms and
conditions as the Collateral Agent may deem advisable. :

; (ii) [fas result of any default herein, the Secured Party shall have taken
any steps pursuant to the provisions of this Agreement to enforce the lien hereof and subsequently
such default shall be waived by the Lenders as herein provided or such Event of Default shall be
deemed to have been cured or remedied, the Secured Party shall at the request and at the cost of
Debtor take such action as may be reasonably required to restore the position which prevailed
immediately prior to the taking of such steps by the Secured Party, subject, however, to any
condition or conditions imposed by the Lenders in such waiver, if applicable, and neither the
Secured Party nor any receiver theretofore appointed by the Secured Party or by a court shall incur
any liability by reason of the taking of such steps. ,

Section 29. Proof of Promissory Notes. All rights of action hereunder may be enforced by
the Secured Party without the possession of any of the Promissory Notes or the production thereof
at the trial or other proceedings relative thereto.

Section 30, Lenders May Direct Secured Party's Action. The Lenders may, by Lenders’

Resolution and upon indemnifying the Secured Party to its satisfaction as provided in Section 16
from time to time direct and contro] the actions of the Secured Party in any proceedings authorized
to be taken by it under Section 27.

(a) | No Lender shall have any right to institute any action or proceeding or to
exercise any other remedy authorized by this Agreement or by law or by equity for the purpose of
‘enforcing payment of the principal or interest on the Promissory Notes or of realizing on the lien
hereof, or by reason of jeopardy of security, or for the execution of any power hereunder, unless the
Lenders’ Resolution referred to in Section 39 and the indemnity referred to in Section 16 shall have

 

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been tendered to the Secured Party and the Secured Party shall have failed to act within a reasonable
time. In such case but not otherwise any Lender acting on behalf of itself and all other Lenders shall
be entitled to take proceedings in any court of competent jurisdiction such as the Secured Party
might have taken under Section 27, including, without limitation, applying for an order appointing
a receiver to take possession of the Collateral or such part thereof as may be the subject matter of
such proceedings with any or all of the powers and rights set forth in Section 27 and such additional
powers and rights as the court may direct, and, in that event, all of the Lenders shall be deemed to
have consented to such proceedings and to any such order, it being understood and intended that no
one or more Lenders shall have any right in any manner whatsoever to affect, disturb or prejudice
the lien hereof by its or their action, or to enforce any right hereunder or under any Promissory Note,
except subject to the conditions and in the manner herein provided, and that all powers and trusts
hereunder shall be exercised and all proceedings at law shall be instituted, had and maintained by
the Secured Party, except only as herein provided, and in any event for the benefit of al} Lenders.

(b) Notwithstanding, however, any provision of this Agreement, if in any
competent jurisdiction neither the Secured Party nor any Lender has the right under the laws of such
jurisdiction to act on behalf of the Lenders in connection with the enforcement of any nights
hereunder, then each Lender shall have the right to enforce its nights hereunder individually provided
that the Lenders shall have first authorized such individual action by Lenders’ Resolution.

Section 32, Lenders May Bid. The Lenders shall be entitled, at any sale pursuant to the
provisions hereof, to credit against any purchase price bid at such sale by such Lender all or any part
of the unpaid obligations owing to such Lender and secured by the lien hereof. c,

Section 33. Application of Proceeds of Realization of Security Except as otherwise
provided herein or by law or by the order of a court, the moneys arising from the enforcement of any
remedy provided for herein or in any other instrument concerning the Collateral, including, without
limitation, the sale or other realization of the whole or any part of the Collateral, whether under any
sale by the Collateral Agent as Secured Party or by judicial process or otherwise, shall be held by
the Secured Party and, together with any other moneys then or thereafter in the hands of the
Collateral Agent as Secured Party available for the purpose, shall be applied by the Collateral Agent
as Secured Party as follows: :

(a) first, to pay all amounts due to the Secured Party hereunder, including,
without limitation, amounts in respect of remuneration, expenses, disbursements and advances,
including the interest thereon, but not including any amounts in respect of such expenses,
disbursements and advances to the extent that the funds used to incur or make such expenses,
disbursements or advances were provided to the Secured Party by a Lender or Lenders pursuant to
Section 16,

(b) second, to repay in full all Lenders who provided funds to the Secured Party
pursuant to Section 16;

 

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(c) _ third, to pay the amount due on the Promissory Notes outstanding first for
principal and then for interest, including interest on amounts overdue, and then for premium, if any,
and then for any other amounts secured hereunder unless otherwise directed by a Lenders’
Resolution and in that case in such order of priority as between principal, interest and premium, if
any, and such other amounts as may be directed by such Lenders’ Resolution; and

(d) fourth, the surplus, if any, of such moneys shall be paid to Debtor or its
assigns or otherwise in accordance with applicable law.

Section 34, Distribution of Proceeds. Payments to Lenders pursuant to Section 1.10 of the
Master Credit Agreement, shall be made upon presentation thereby of Promissory Notes in the form
of Promissory Note attached as Exhibits B-1 or B-2 to the Master Credit Agreement, as the case may
be, and any such Promissory Note thereby paid in full shall be surrendered. The Secured Party may
in its discretion dispense with presentation and surrender upon such indemnity being given as it shall
deem sufficient or the Secured Party may endorse on such Promissory Note a memorandum of

payment.
Section 35, Maintenance of Records. The Secured Party shal] create and maintain proper

accounts and records showing, without limitation:
(a) all amounts due to the Secured Party pursuant to Section 33;

(b) all expenditures made by the Secured Party pursuant to Section 16 or tn
connection with the repossession, holding, processing, preparing for disposition and remarketing
of the Collateral or to pay Liens, if any, on the Collateral ranking (or capable of ranking) in priority
to the lien hereof or to keep any such prior Lien in good standing;

(c) all proceeds arising from the sale or other realization of the whole or any
part of the Collateral; and

‘(d) all amounts furnished to the Secured Party pursuant to Section 6;

Absent proof of manifest error, the accounts and records maintained by the Secured Party shall
constitute prima facie evidence of such matters so recorded therein.

Section 36, Person Dealing with the Secured Party, No person dealing with the Secured

Party or any agents thereof shall be concemed to inquire whether the lien hereof has become or
remains enforceable or whether the powers which the Collateral Agent as Secured Party is
purporting to exercise have become or remain exercisable, or whether any moneys remain due upon
the security of this Agreement or under any Promissory Note, or as to the necessity or expediency
. of the stipulations and conditions subject to which any sale shall be made or otherwise as to the
propriety or regularity of any sale or of any other dealing by the Secured Party with the Collateral
or any part thereof, or to see to the application of any moneys paid to the Secured Party and, in the

 

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absence of fraud on the part of such person, such dealing shall be deemed so far as regards the safety
and protection of such person, to be within the powers hereby conferred and to be valid and
effective. [

Section 37, Cancellation and Destruction. Prior to the payment of any Promissory Note
in full, such Promissory Note shall forthwith be delivered to the Secured Party and after payment
thereof, such Promissory Note shall be canceled. All Promissory Notes so canceled or required to

~ be canceled under this or any other provision of this Agreement shall be destroyed by the Secured

Party, and if required by Debtor, the Secured Party shall furnish to it a destruction certificate setting
forth the numbers and denominations of the Promissory Notes so destroyed.

Section 38, Non-Presentation of Promissory Notes. In case the Holder of any Promissory
Note shall fail to present the same for payment or shall otherwise not accept payment on account
thereof as herein provided and give such receipt therefor, if any, as the Secured Party may require,
Debtor shail be entitled to deposit with the Secured Party the amount due on such Promissory Note

(including interest and interest on overdue interest, if any) in trust to be paid to such Holder upon

due presentation for surrender thereof in accordance with the provisions of this Agreement or as
otherwise provided herein and thereupon the principal amount of such Promissory Note and interest
(including interest on overdue interest, if any) payable on or represented by such Promissory Note
in respect whereof such amounts have been deposited shall be deemed to have been paid and such
Holder thereof shall thereafter have no right in respect thereof except that of receiving payment of
the amounts so deposited with the Secured Party upon due presentation and surrender thereof or as
otherwise provided herein, subject always to the provisions of Section 38. Upon receipt of such
funds Secured Party shall deposit such monies with a bank of its choosing.

Section 39, Repayment of Unclaimed Moneys to Debtor. Any moneys deposited under
Section 37 and not claimed by and paid to Holders of Promissory Notes as provided in Section 33
within six years after-the date of such deposit shall be repaid to Debtor by the Secured Party on
demand and thereupon the Secured Party shall be released from all further liability with respect to
such moneys and thereafter the Holders of the Promissory Notes in respect of which such moneys
were so repaid to Debtor shall have no right in respect of such Promissory Notes except to obtain
payment of such moneys from Debtor.

Section 40, Powers of the Lenders. The Lenders shall have the following powers
exercisable from time to time by Lenders’ Resolution (as described more particularly in Section 4}):

(a) power to take such actions as are provided for in this Agreement to be taken
upon the making of a Lenders’ Resolution, or such other actions as may be necessary or desirable
in furtherance thereof,

(b) power to sanction any scheme for the reconstruction or reorganization of
Debtor or for the consolidation, amalgamation or merger of Debtor with any other company, or for
the selling of the Collateral or any part thereof,

 

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(c) power to require the Secured Party to refrain from enforcing any of the
covenants on the part of Debtor herein contained or to refrain from exercising any of the powers
hereby conferred upon the Secured Party or to direct the Secured Party to waive any Default or
Event of Default on the part of Debtor on such terms as may be deemed advisable or to cancel any
declaration or waiver previously made by the Secured Party hereunder;

- (d) power to remove the Secured Party from office and to appoint a new
Secured Party to act as Collateral Agent, provided such new Secured Party is acceptable to Debtor,
acting reasonably,

(e) power to assent to any judgment, compromise or arrangement by Debtor
with any creditor, creditors or class or classes of creditors or with the holders of any shares or
securities of Debtor;

(f) power to sanction the release of the whole or any part of the Collateral from
the lien hereof;

(g) power to require the Secured Party to take any action or to do any other
matter or thing which is consented to by Debtor and approved by a Lenders’ Resolution;

(h) power to direct the Secured Party, when the lien hereof shall have become
enforceable, as to the manner of sale or disposition of any part of the Collateral;

(i) | power to authorize the Secured Party, in the event of Debtor making an
authorized assignment to an assignee, Secured Party or liquidator under applicable bankruptcy or
insolvency legislation or legislation relating to winding-up, for and on behalf of the Lenders, and
in addition to any claim or debt proved or made for its own account as Secured Party hereunder, to
file and prove a claim or debt against Debtor and its property for an amount equivalent to the
aggregate amount which may be payable in respect of the Promissory Notes and other amounts
payable hereunder, and vote such claim or debt at meetings of creditors and generally act for and
on behalf of the Lenders in such proceedings as such resolution or requisition may provide; and

(j) | power to appoint a committee with power and authority (subject to such
limitations, if any, as may be prescribed in the resolution of requisition) to exercise, and to direct
the Collateral Agent as Secured Party to exercise, on behalf of the Lenders, such of the powers of

_ the Lenders which are exercisable by resolution as shail be included in the resolution appointing the
committee. The resolution making such appointment may provide for payment of the expenses,
disbursements and compensation of such committee. Such committee shall consist of such number
of persons as shall be prescribed in the resolution appointing it and the members need not be
themselves Lenders. Every such committee may elect its chairman and may make regulations
respecting its quorum, the calling of its meetings, the filing of vacancies occurring in its number and
its procedures generally. Such regulations may provide that the committee may act at a meeting at

 

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which a quorum is present or may act by minutes signed by the number of members thereof
necessary to constitute a quorum. All acts of any such committee within the authority delegated to
it shall be binding upon the Lenders. Neither the committee nor any member thereof shall be liable
for any loss arising from or in connection with any action taken or omitted to be taken by them in
good faith.

‘ Section 41, Lenders Resolution Required. Any change whatsoever of any provision of the
Promissory Notes, whether or not the same has been agreed to by Debtor, and any modification,

compromise or arrangement of or in respect of the rights of the Lenders against Debtor or against
the Collateral whether such rights shall arise under the provisions of the Agreement or otherwise,
shall require confirmation by a Lenders’ Resolution.

Section 42, Execution of Lenders’ Resolutions. Any instrument comprising a Lenders’
Resolution, and any requisition or other instrument to be executed by Lenders under any provision
of this Agreement, may be in any number of concurrent instruments of similar tenor and effect and
any Lender may execute the same in person or by agent or attorney duly authorized in writing. The
fact and date of execution by any Lender of any power of attorney may be proved by the certificate
of any notary public that the person signing the same acknowledged to him the execution thereof
or by the affidavit or statutory declaration of a witness to such execution, and such proof shall be
conclusive in favor of the Secured Party with regard to any action taken or suffered by the Secured
Party under such instrument. No such instrument shall be effective until delivery thereof to the
Secured Party. The Secured Party shall give notice to all Lenders of each Lenders’ Resolution
delivered as aforesaid.

Section 43, Effect of Lenders’ Resolution. Any Lenders’ Resolution shall be binding upon
the Lenders and each of them, and the Secured Party (subject to the provisions for its indemnity
herein contained) shall be bound to give effect thereto accordingly.

Section 44, Secured Party Appointed Attorney-in-Fact. Debtor hereby irrevocably appoints
Secured Party as Debtor's attorney-in-fact, with full authority in the place and stead of Debtor and
in the name of Debtor or otherwise, from time to time in Secured Party's discretion upon the
occurrence and during the continuation of any Event of Default, to take any action and to execute
any instrument that Secured Party may deem necessary or advisable to accomplish the purposes of
this Agreement, including, without limitation, the following:

(a) to ask for, demand, collect, sue for, recover, compromise, receive, and give

_ acquittance and receipts for moneys due and to become due under or in respect of any of the -

Collateral;

(b) _ to file any claims, take any action and institute any proceedings that Secured
Party may deem necessary or desirable for the collection of any of the Collateral or otherwise to
enforce the rights of Secured Party with respect to any of the Collateral.

 

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Section 45, Secured Party's Duties. The powers conferred on Secured Party under this
Agreement are solely to protect its interest in the Collateral as Collateral Agent and shall not impose

any duty upon it to exercise any such powers, except as provided herein. Secured Party shall be
deemed to have exercised reasonable care in the custody and presentation of any Collateral in its
possession if such Collateral is accorded treatment substantially equal to the treatment that Secured
Party accords its own property.

Section 46, Remedies. If any Event of Default occurs and shall remain unpaid or uncured
for a period of thirty (30) days, Secured Party shall be entitled to exercise the following remedies,
in addition to those set forth in Section 27.

(a) Secured Party may exercise in respect of the Collateral, in addition to other
rights and remedies provided for herein or otherwise available to it, all of the rights and remedies
of a secured party in default under the Code, as in effect at that time, (whether or not the Code
applies to the affected Collateral). ,

(b) All cash held by Secured Party as Collateral, all payments received by
Secured Party in connection with the Collateral and all cash proceeds received by Secured Party in
respect of any sale of, collection from or other realization upon all or any part of the Collateral may,
in the discretion of Secured Party, be held by Secured Party as collateral for, and/or then or at any
time thereafter applied (after payment of any amounts payable to Secured Party) in whole or in part
by Secured Party against, all or any part of the Secured Obligations (as set forth in Section 4 hereof)
in such order as Secured Party may elect. Any surplus of such cash or cash proceeds held by
Secured Party and remaining after payment in full of the Secured Obligations shall be paid over to
Debtor or to whoever may be lawfully entitled to receive such surplus.

Section 47, Indemnity and Expenses.

(a) Debtor agrees to indemnify Secured Party from and against any and all
claims, losses and liabilities arising out of or resulting from this Agreement (including, without
limitation, enforcement of this Agreement), except claims, losses or liabilities resulting from
Secured Party's gross negligence or willful misconduct.

(b) Debtor will upon demand pay to Secured Party the amount of any and all
reasonable expenses, including, without limitation, the reasonable fees and disbursements of its
counsel and of any experts and agents, that Secured Party may incur in connection with (i) the
custody, preservation, use, operation or sale of, the collection from, or any other realization upon,
any of the Collateral, (ii) the exercise or enforcement of any of the rights of Secured Party
hereunder, whether in any insolvency or reorganization proceeding or otherwise, or (iii) the failure
by Debtor to perform or observe any of the provisions hereof.

 

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(a) Noamendment or waiver of any provision of this Agreement or consent to
_ any departure by Debtor therefrom shall in any event be effective unless the same is in writing and
signed by Secured Party, and then such waiver or consent shall be effective only in the specific
instance and for the specific purpose for which given.

(b) The waiver (whether express or implied) by Secured Party of any breach of
any term or condition of this Agreement shall not prejudice any remedy of Secured Party in respect
of any continuing or other breach of the terms and conditions hereof and shall not be construed as
a bar to any right or remedy that Secured Party would otherwise have on any future occasion under
this Agreement.

(c) No failure to exercise or delay in exercising, on the part of Secured Party,
any right, power or privilege under this Agreement shall operate as a waiver thereof or the exercise
of any other right, power or privilege.

Section 49, Notices, Etc. All notices and other communications provided for hereunder
shall be given in accordance with Section 8.03 of the Master Credit Agreement.

Section 50, Continuing Security Interest. This Agreement creates a continuing security
interest in the Collateral and shall (a) remain in full force and effect until payment in full of the
Secured Obligations, (b) be binding upon Debtor and its successors and assigns and (c) inure,
together with the rights and remedies of Secured Party hereunder, to the benefit of Secured Party
and its successors, transferees and assigns. Without limiting the generality of the foregoing clause
(c), Secured Party may assign or otherwise transfér any or all of its rights and obligations under this
Agreement to any other person, and such other person shall thereupon become vested with all of the
benefits in respect thereof granted to Secured Party herein or otherwise. Upon payment in full of
the Secured Obligations, the security interest granted hereby shall terminate, and all nights to the
Collateral shall revert to Debtor, as provided for in Section 6. Upon any such termination, Secured
Party will, at Debtor's expense, execute and deliver to Debtor such documents as Debtor may
reasonably request to evidence such termination.

 

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Section 51, Governing Law, Terms. THIS AGREEMENT SHALL BE GOVERNED BY,
AND CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE STATE
OF FLORIDA APPLICABLE TO CONTRACTS MADE AND PERFORMED IN THE STATE OF
FLORIDA, EXCEPT TO. THE EXTENT THAT THE VALIDITY OR PERFECTION OF THE
SECURITY INTEREST HEREUNDER, OR REMEDIES HEREUNDER, IN RESPECT OF ANY
PARTICULAR COLLATERAL ARE GOVERNED BY THE LAWS OF A JURISDICTION OTHER
THAN THE STATE OF FLORIDA.

Unless otherwise defined herein or in the Master Credit Agreement, terms defined in
~ _ Article 9 of the Code are used herein as therein defined.

. SECURED PARTY AND
; COLLATERAL AGENT:

BANK ESPIRITO SANTO INTERNATIONAL, LTD.,
a Cayman Islands, BWI corporation

By:
Name:
Title:

 

 

 

DEBTOR:

- E.S. BANKEST CORP., a
~ - Florida corporation

By:
Name:
Title:

 

 

 

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TBIT "A" TOMA EMEN

1, Espirito Bank of Florida, 1395 Brickell Avenue, Miami, Florida 33131.

 

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"B" EMENT

1. - Florida.

 

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HIBIT IV

MASTER CREDIT AGREEMENT

Exhibit E

—UCC-1 Financing Statement

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STATE OF FLORIDA

UNIFORM COMMERCIAL CODE — FINANCING STATEMENT — FORM UCC-1 REV. 1981

THIS FINANCING STATEMENT is presented to a {iting officer tor filing pursuant to the Uniform Commercial Code:

 

 

ONLY ONE NAME PER 80K

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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NAME Date, Time, Number & Filing Ottice
1A E.S- BANKEST CORP.
MAILING ADDRESS
1395 BRICKELL AVE., SEVENTH FLOOR
city MIAMI state FLORIDA
MULTIPLE DEBTOR {IF ANY) (Lest Name First if a Person)
NAME
1B
MAILING ADORESS
city STATE
MULTIPLE DEBTOR (iF ANY} {Last Name Firs! i! a Person)
NAME
1c
MAILING ADDRESS
ciry STATE *
SECURED PARTY (Last Name Firs! it a Person)
name BANK ESPIRITO SANTO INTERNATIONAL LTD.
2A .
MAILING ADDRESS
‘P.O. BOX 887
city GRAND CAYMAN stare CAYMAN ISLANDS, BWI
MULTIPLE SECURED PAATY (FE ANY) (Last Name First if @ Parson)
NAME
2B
MAILING ADDRESS AUDIT UPDATE
cry STATE
ASSIGNEE OF SECURED PARTY (iF ANY) (Last Name First if @ Person) VALIDATION INFORMATION
NAME .
3
MAILING ADDRESS
city STATE
4. This FINANCING STATEMENT covers the following lypes or items of property ti in of real property on which i oc
and owner of record when required). H mora space is raquired, attach additional sheels 0%" 2 11". .
SEE EXHIBIT "A" attached hereto.
2
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6. Fuedwine FLORIDA SECRETARY OF STATE 8
B. check 1) 0) Att documentary stamp taxes dus and orto due and oS 201.22, F.$_ nave been paid. 3
D Florida Documentary Siamp Tax Is not required. :
3. This is Med the debtor's sign to pertect security interast in covisteral (Check CJ itso) = {10. iCheck 1 it 30) <
£) atready subject to 8 ity in another j when if was brought into this siate or debtor's | 1) Debtor is a transmitting utllity
oration Hed to Inis state. . D Products of collateral are covered
DO which ie proceeds of the original collateral described above in which 2 security interest was pertected.
C0 as to which the fiting has lapsed.
41. SIGNATURENS) OF DEBTORS)
o altera ge of name, , OF COD of the E.S. BANKEST CORP.
DB ceptor or 0 secured party.
13. Return copy to:
NAME
ADDRESS 12. SIGNATUREIS) OF SECURED
PARTY(IES) OR ASSIGNEE
city
{STATE z1P CODE

 

 

 

 

 

STANNARN FORK — FORM 1ICC.1

Brnrvnr by Gerratan of State Stain at Fledy

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EXHIBIT “A”

TO UCC-1 FINANCING STATEMENT FROM ES. BANKEST CORP., A FLORIDA
CORPORATION (“DEBTOR”) TO BANK ESPIRITO SANTO INTERNATIONAL LTD.,
A BRITISH VIRGIN ISLANDS CORPORATION (“SECURED PARTY”)

interest, lien and right of set-off
to the Secured Party an interest in the collateral described belo
products thereof in any form, together with all documents, records and information relating
thereto (collectively, the “Collateral”):

1.

Debtor hereby gives Secured Party an unconditional and continuing first priority security
and hereby assigns, transfers, pledges, conveys and sets over
w, and in all proceeds and

A pledge and security interest in all of Debtor’s rights to the payment of money

however evidenced or arising, including each existing and future account, contract
right, general intangible, instrument and document, within the meaning of the
Florida Uniform Commercial Code (the ““Code”), and in all trademarks, copyrights,
good will, names, patents, licenses, inventions, causes of action and goods giving
rise to Debtor’s right to the payment of money, including such goods in which
Debtor has retained a security interest or which have been reclaimed, returned or
repossessed, all documents of title and warehouse receipts, and all book entries,
records and files relating to the foregoing, and the proceeds (cash and non-cash) of

all the foregoing and any insurance policies relating thereto;

A pledge and security interest in all deposits accounts, credits, securities, moneys,
or other property of Debtor which may at any time be in the possession of, delivered

to, or owed by the Secured Party, including any proceeds or return or unearned

premiums of insurance, and the proceeds of all the foregoing property; and

A pledge and security interest in all short-term interest bearing securities, certificates

of deposits and any other investment purchased by Debtor established by Debtor
with proceeds of the Notes (as more particularly defined in the Master Credit

Agreement).

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